Fi|l in this information to identify your case;

 

United States Bankruptoy Court for the:

  

Westem District of Texas _ 11
' ZBlBFEB 27 £ii‘i 9- le
Case number urknown); Chapter you are filing unden "
Chapter? §.E.:<i(. mh
E! chapter11 U.S_g §§ P`i`C`( flittie-il

' 5 Chapter12
cl Chapter13 B`l'._.

 

 

Officia| Form 101
Voluntary Petition for lndividuals Filing for Bankruptcy iam

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may tile a bankruptcy case together-called a
joint case-and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. ln joint oases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. lf two married people are t'lling together, both are equally responsible for supplying correct
information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

ldentify Yoursetf

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

About Debtor 1: About Debtor 2 {Spouse Only in a Joint Case):
1. Your full name n w
Write the name that is on your
govemment-issued picture J_Ohn A_mber
identification (for example, F"$l name F"st name
your driver’s license or Thurman Carol
paSSpO!t). Midd|e name Middle name `
Bring your picture . Payne Payne
identiEcation to your meeting '-ast name La$f name
with the trustee Jr
Surrix (Sr._ .ir.. li, lll) Sufiix (Sr., Jr., ll, lll)
2. A|| other names you
have used in the last 8 mm name F,-rst name
years
|nc[ude your married or MiddlE namE _ MlddlE name
maiden names.
Last name Last name
First name First name
Midd|e name Middle name
Last name Last name 2‘)/_
3. Only the last 4 digits of
yours°cialsecurity xxx _xx__._é.'_..._..._.a.__-B_B_ .xxx "'xx_._l_i_.\_z_
number or federal oR OR
|ndividua| Taxpayer 9
|dentification number xx ' xx __ _ _ _ 9 XX _ XX __ _ _ _._ 5
<'T*~) A\ o

 

Oft`ccia| Form 101 Voluntary Petition for Individuals Fi|ing for Bankruptcy page 1 LY \

Debtor 1

John Thurman Payne

 

Fiisl Na'ne Middfe Nsme

Last Name

Case number iiiimwni

 

4. Any business names
and Employer
identification Numbers
(E|N) you have used in
the last 8 years

lnc|ude trade names and
doing business as names

About debtor 1:

l have not used any business names or Ele.

About Debtor 2 (Spouse On|y in a Joint Case):

- l have not used any business names or E|Ns.

 

Business name

Business name

 

Business name

Buslness name

H_

H_

 

s. Where you live

1708 Pagedate Cove

if Debtor 2 lives at a different address:

 

 

 

 

Number Street Number Slreet

Cedar Park TX 78613

ciiy siaie ziP code city siaie zii= code
Wi||ia mson

County County

|f your mailing address is different from the one
above. fill it in here. Note that the court will send
any notices to you at this mailing address.

if Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

 

 

 

 

 

Number Street Number Street
P.O. Box P.O. Box
Ciiy State zli=' code City 3th ZiF' Code
6_ Why you are choosing Check One.' Check One.'
this district to file for a . . . . m . . . .
bankruptcy Over the last 180 days before filing this petition, Over the last 180 days before filing this petition,

l have lived in this district longerthan in any
other district.

m l have another reason. Explain.
(see 28 u.s.c. § 1408.)

 

 

 

 

| have lived in this district ionger than in any
other district.

l:l l have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

 

Oflicial Fon'n 101

Voluntary Petltlon for |ndivldua|s Flling for Bankruptcy

page 2

 

" Debtor 1

Firs\ Name

John Thurman Pavne

Middte Name

Case number (ifimawni
usi name

m Tell the Court Ahout Your Bankruptcy Case

‘7’.

The chapter of the
Bankruptcy Code you
are choosing to file
under

Check one. (For a brief description of each, see Noti'ce Requi`red by 11 U.S.C. § 342(b) for individuals Fiiing
for Banirruptcy (Fonn 2010}). Also, go to the top of page 1 and check the appropriate box.

a Chapter 7

Cl chapter 11
C.l Chapter12
U Chapter 13

 

 

 

 

 

 

 

 

 

 

 

How you will pay the fee l;l | will pay the entire fee when l file my petition. P|eese check with the clerk's office in your
local court for more details about how you may pay. Typica|ly, if you are paying the fee
yourself, you may pay with cash, cashier’s checl<, or money order. if your attorney is
submitting your payment on your beha|i, your attorney may pay with a credit card or check
with a pre-printed address.
Cl l need to pay the fee in installments if you choose this option, sign and attach the
Appiicafion for individuals to Pay The Fi`iing Fee in installments (Ofiicial Fonn 103A).
g a l request that my fee be waived (You may request this option only if you are iiiing for Chapter 7.
By law. a judge may, but is riot required to, waive your fee, and may do so only if your income is _
§ less than 150% of the oflicial poverty line that applies to your family size and you are unable to
§ pay the fee in installments). if you choose this option, you must fill out the Appiication to Have the !
§ Chapter 7 Fi'ii'ng Fee Waived (Official Fomi 1035) and file it with your petition.
9. Have you filed for a No
’ bankruptcy within the
last 8 years? m Yes. District When Case number
MM.' inciwi
District When Case number
Mlvii DD ivYYY
5 Dislrlct When Case number
= Mii.ii on iYYYY
' to. Are any bankruptcy a No
' cases pending or being _
filed by a spouse who is n Yes. Debtor Rolationship to you
not f'|mg th's ca:""e “"th District When Case number, if known
you, or by a business MM roi:i iYYYY
partner, or by an
; affiliate?
§ Debtor Re|at|onship to you
District When Case number, if known
MM mo i YYYY
11- D° _y°u rent your Ei Nn. ooroiine12_
z res'dence? cl Yes. Has your landlord obtained an eviction judgment against you?

Ol"liciai Fomi 101

El No. soto line 12.

El Yes. Fi|l out initial Siaiement About an Evi°ciion JudgmenrAgainst You (Fomi 101A) and tile it as
part of this bankruptcy petition.

Vo|untary Petition for lndividuals Filing for Bankruptcy page 3

" Debtor 1

\.]Ohn Thurman Payne Case number(irmni

 

First blame Midde Neme

Last Name

m Report About Any Businesses You Own as a Sole Proprietor

 

5 12. Are you a sole proprietor

of any fu|l- or part-time
business?

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as
a corporation, partnership. or
LLC.

if you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

a No. Go to Part 4.

l;l Yes. Name and location of business

 

Namo of business, if any

 

Number Street

 

 

City State ZlP Code

Cbeck the appropriate box to describe your business.'

n Health Care Buslness (as defined in 11 U.S.C. § 101(27A))
m Sing|e Asset Real Estate (as defined in 11 U.S.C. § 101(515))
n Stockbroker (as defined in 11 U.S.C. § 101(53A))

Et commodity eroi<er (as defined in 11 u.s.c. § 101(6))

Ei None of the above

 

l 13.

Are you filing under
Chapter 1 1 of the
Bankruptcy Code and
are you a small business
debtor?

For a definition of small

business debtor, see
11 U.S.C. § 101(51D).

if you are filing under Chapter 1 1, the court must know whether you are a Smaii business debtor so that it
can set appropriate deadlines. if you indicate that you are a small business debtor, you must attach your
most recent balance sheet, statement of operationsl cash-flow statement and federal income tax return or if
any of these documents do not exist. follow the procedure in 11 U.S.C. § 1116(1)(B).

a No. l am not filing under Chapter11.

l:l No. l am filing under Chapter11. but l am NO'l'a small business debtor according to the definition in
the Bankruptcy Code.

El Yes. l am filing under Chapfer 11 and l am a small business debtor according to the deiinition in the
Bankruptcy Code.

mReport if You Ovvn or Have Any Hazarclous Properl:y or Any Property That Needs lmmediate At'tention

j 14.

 

Do you own or have any
property that poses or is
alleged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?

For examplel do you own
perishable goods, orlivesl.‘ock
that must be fed, or a building
that needs urgent repairs?

Ofiicia| Fon'n 101

a No
|3 Yes. Whai is the hazard?

 

 

lf immediate attention is needed, why is it needed?

 

 

Where is the property?

 

Number Street

 

 

City State Z|P Code

Voluntary Petition for individuals Fiiing for Bankruptcy page 4

John Thurman Pavne

Fltsi Narrle MiddiB Name

Debtor 1 Case number qirmowni

Last Namo

Explain Your Efforts to Receive a Briefing Aboul: Credit Counseiing

 

The law requires that you
receive a briefing about credit
counseling before you tile for
bankruptcyl You must
truthfully check one of the
following choices. if you
cannot do so, you are not
eligible to file.

|f you file anyway, the court
can dismiss your case. you
will lose whatever filing fee
you paid. and your creditors
can begin collection activities
again.

Ofiicial Fom'i 101

g | received a brieiing from an approved credit
counseling agency within the 180 days before i
filed this bankruptcy petition. and i received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

El l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but| do not have a
certificate of completion

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

Ci l certify that l asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after i made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement

To ask for a 230-day temporary waiver of the
requirement attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
banknrptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed ifthe court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency. along with a copy of the payment plan you
developed, if any. if you do not do so, your case
may be dismissed

Any extension of the 30-day' deadline is granted
only for cause and is limited to a maximum of 15
days.

n l am not required to receive a briefing about
credit counseling because of:

n lncapacity. i have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

El Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the intemet. even after i
reasonably tried to do so.

Ci Active duty. l am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling. you must file a
motion for waiver of credit counseling with the court.

Voiuntary Petition for individuals Fi|ing for Bankruptcy

z 15 Te" the court whether About Debtor1: About Debtor 2 (Spouse Only in a Joint Case}:
f you have received a

briefing about credit YOU must Ch€f»`k One-' You must check one:

counseling.

a l received a briefing from an approved credit

counseling agency within the 180 days before l
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certilicate and the payment
planl if any, that you developed with the agency.

m l received a briefing from an approved credit

counseling agency within the 180 days before l
filed this bankruptcy petition, butt do not have a .
certificate of compietlon.

Within 14 days after you file this bankn.iptcy petition, `
you MUST tile a copy of the certificate and payment
planr if any.

El 1 oortirythat l asked for credit counseling

services from an approved agency, but was
unable to obtain those services during the 7
days after i made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 150-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcyl

if the court is satisfied with your reasons. you must
still receive a briefing within 30 days after you file,
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, 'rf any. if you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

n l am not required to receive a briefing about

credit counseling because of:

i:i lncapacity. | have a mental illness or a mental '
deficiency that makes me
incapable of realizing or making
rational decisions about finances

i:l Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the intemet. even after l

reasonably tried to do so.

i;i Active duty. l am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling. you must tile a
motion for waiver of credit counseling with the court.

page 5

 

 

Debtor 1 John Thurman Payne Case number tir.¢oiown)
First Nal'rle Middle blame Last Narna
Part 6: Ansvirer These Questions for Reporttng Purposes

 

io. what kind of debts do
you have?

16a Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a persona|, family, or household purpose.”

El No_ co to line 16b.
a Yes. Go to line 17.

16b. Are your debts primarily business debts? Busl'ness debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment_

in No. Go to line 16c.
i;l Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

 

 

11. Are you t”lling under
Chapter 7?

Do you estimate that after a Yes. l am liling under Chapter 7. Do you estimate that after any exempt property is excluded and
any exempt property is administrative expenses are paid that funds will be available to distribute to unsecured creditors?

i:l No. l am not filing under Chapter 7. Go to line 18.

 

 

excluded and g No
administrative expenses
are paid that funds will be n Yes
available for distribution
to unsecured creditors?
13. How many creditors do U 1-49 Cl 1,000-5,000 Cl 25,001-50,000
` you estimate that you El 50-99 El 5,001-10,000 Cl 50,001-100,000
°We? El 100-199 l'_'l 10,001-25.000 El Moro than lco,ooo
lIl 200-999 i
19_ Hovlr much do you El $0-$50,000 El $1,000,001-$10 million |;l $500,000,001-$1 billion

estimate your assets to
be worth?

|Zl sso,ool-$loo,ooo
El $loo,om-ssoo,ooo
El ssao,omsl million

EJ $10,000,001-$50 million
L`.l sso,ooo,ooi-sloo million
El $100,000,001-$500 million

El $1,000,000,001-$10 billion
El sto,ooo,ooo,ool-sso billion
El ivlore than ssc billion

 

` 20. How much do you
estimate your liabilities
to be?

Sign Belovlr

For you

EJ $o-$so,ooo

El $50,001$100,000
El $loo.ool-$soo.ooo
El $500,001-$1 million

Cl $1.000,001-$10 million

Et s10,000,001s50 million
El $50,000.001-$100 million
El $1oo,ooo,ools500 million

El $500,000,001-$1 billion

El $1,000,000,001-$10 billion
El $10,000,000,001-$50 billion
Cl Nloro than $50 billion

l have examined this petition, and l declare under penalty of perjury that the information provided is true and

CO|'TECT.

|f l have chosen to tile under Chapter 7, | am aware that l may proceed, if eligible, under Chapter 7, 11,12, or13
of title 11, Unlted States Code. l understand the relief available under each chapter, and | choose to proceed

under Chapter 7.

lf no attorney represents me and | did not pay or agree to pay someone who is not an attomey to help me till out
this document, l have obtained and read the notice required by 11 U.S.C. § 342(b)_

l request relief in accordance with the chapter of title 11, United States Code, specified irl this petition.

l understand making a false statement concealing property, or obtaining money or property by fraud ln connection
with a bankruptcy case can result in lines up to $250, 000, or imprisonment for up to 20 years or both

Signature of Debtor 2

Executed on azi 27/?¢ fyu

MM.ll DD IYY‘(Y

   
   

Sig` ture cf Debtor 1

Executed on 91‘21/29(¥

MM l DD l'YYYY

 

 

mo o . -.-~¢wr'~ ‘r». o i- .i- .,- . .1-`..¢

Otiicial Fon'n 101 Voluntary Petition for individuals Fi|ing for Bankruptcy page 6

Debtor1 John Thurman Payne Case number (irlmowni

Flrst Name Mil:td'le Name Lnst Name

 

 

 

|, the attorney for the debtor(s) named in this petiticn, declare that l have informed the debtor(s) about eligibility
to proceed under Chapter 7, 11, 12, or 13 of title ‘11, United States Code, and have explained the relief
available under each chapter for which the person is eligible. l also certify that t have delivered to the debtor(s)
_ the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify thati have no

§ if you are not represented knowledge after an inquiry that the information in the schedules filed with the petition is incorrect

; by an attorney, you do not

' For your attorney, if you are
represented by one

 

 

 

 

 

 

 

 

5 need to file this page. x
Date
Signature ofAttomey for Debtor MM l DD l Y¥YY
Printed name
Firm name
Number Stl'eet
city Slate zlP code
Contal::t phone Email address
Bar number State

 

Oflicia| Forln 101 Voluntary Petltion forindividuals Fi|ing for Bankruptcy page 7

- ooiol JOhn Thurman Payne onenumben,,i.m

 

 

 

Flrst Name Middle Name Last Name
For you if you are filing this The law allows you, as an individual, to represent yourself irl bankruptcy court, but you
§ bankruptcy WithOUf an should understand that many people find it extremely difficult to represent
attorney themselves successfully. Because bankruptcy has long-term financial and legal

; consequences, you are strongly urged to hire a qualified attorney.
§ lf you are represented by
an attorney, you do not To be successful, you must correctly file and handle your bankruptcy case. The rules are very

§ need to me this page_ technical. and a mistake or inaction may affect your rights. For example, your case may be §
= - dismissed because you did not tile a required document, pay a fee on time, attend a meeting or j
hearingl or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
flnn if your case is selected for audit. lf that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic Stay.

You must list all your property and debts irl the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules lf you do not list a debt. the debt may not be discharged. lf you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge carl
also deny you a discharge of all your debts ifyou do something dishonest in your bankruptcy
case. such as destroying or hiding property, falsifying records. or lying. individual bankruptcy
cases are randomly audited to determine if debtors have been accurate. truthfu|, and complete
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

lf you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successfull you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure. and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

C] No
a Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

ElNo
mYes `

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy fon'ns?
m No

El Yes. Name of Person .
Attach Bankruptcy Petitl'on Preparefs Notice, Declaration, and Sr'gnature (Offrcial Fonn 119).

By signing here, l acknowledge that l understand the risks involved in filing without an attorney l
have read and understood this notice, and l am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if l do not properly handle the case.

x//AM. x

 

 

 

 

 

 

 

 

Si ature of Debtoi'=l)_'/ Signature of Debtor 2 l U \""
colo 5 Li?'? z‘mp core 03- 17 /Zo{
llllllroo irva bler oorvwv
Confact phone (512) 736'4179 COnlBCt phol'lE (512) 736"4211
Ce[l Phone (512) 736‘4179 Cell phone (512) 736-421 1
Ema;i address john@paynefamily.com Emaii address john@paynefamily.ccm
RHFMWWWEW”W'U?WWUWWU§) .-._. ,._L._-. . h_, -tw_i-` q, , .i i l ",E.l. -.y .. i… .;imm .. ..i.-i,i!. ,..., .M___. i.. .,.|.H,L;L--_i _.; ,.,.. ._-,i,i_-;o-r"r'o- _ _, mmmg

 

 

 

Ott’lcial l-“onn 101 Voluntary Petition for individuals Fi|ing for Bankruptcy page 8

Fiil in this information to identify your case and this filing:

 

 

 

mwa John Thurman Payne
F'rst Name Midde Name Last Name

Debtorz Amber Carol Payne

(Sptilus€, if fliil'ig) Frst Name Middle Name Last Name

United States Bankmptcy Court for the: Wesiem District of Texas

Case number

 

 

Official Form 106AIB
Schedule AIB: Property

 

LIl check if this is an
amended liling

12115

 

in each category, separately list and describe items. List an asset only once. if an asset its in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. |f two married people are filing together, both are equally
responsible for supplying correct information lf more space is needed, attach a separate sheet to this form. On the top of any additional pages,

write your name and case number (if known). Answer every question.

m Describe Each Residonco, Building, Land, or Other Real Estate You Own or Have an interest ln

t
i
t

 

E] No. Go to Part 2.
m Yes. Where is the property?

What is the property? Check all that apply.
53 Sing|e-tamily home

1_1_ 1708 Pagedale Cove

Street address, if available, or other description

 

n Duplex or muiti-unit building
n Ccndominium or cooperative

n Manufactured or mobile home

 

 

1. Do you own or have any legal or equitabie interest in any residence, building, iand, or similar property?

Do not deduct secured oiaims or exemptions Put
the amount of any secured claims on Scheduie D:
Creditors th Have Ciar'ms Secured by Properry.

Current value of the Current value of the
entire property? portion you own?

 

 

 

 

Cl Land $ 505,000.00 5 505,000.00
El investment properly

cedar Park TX 78613 l;| -|-,mesha,.e Describe the nature of your ownership

C'W 3th ZlP Code n Oth interest (such as fee simple, tenancy by

er the entireties, or a life estate), if known.

Who has an interest in the property? Check one.

\N§§§§amson \;l Debtor 1 only

Coumy El Debtor 2 only

m Debtor 1 and Debtor 2 only
n At least one cf the debtors and another
Other information you wish to add about this item, such as local

property identification number:

if you own or have more than one, list here:

m Check if this is community property
(see instructions)

 

What is the property? Checi< all that apply.
\:l Single-fami|y home
1-2' cl Duplex or multi-unlt building

 

Street address, if available, or other description

n Condominium or cooperative

El Manufactured or mobile home

 

Ci Land

a investment property

 

 

 

 

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Soheduie D.'
Credr'tors Who Have Ciaims Secured by Property.
Current value of the Current value of the
entire property? portion you own?

$ $

 

 

 

 

. Descrlbe the nature of your ownership

City Staie ZIP Code a T'meshare interest (such as fee simple, tenancy by
n Other the entireties, or a iife estate), if known.
Who has an interest in the property? Check one.
m Debtcr1 only

Coum.y cl Debtor 2 only
n Debtori and Debf0r2 Only n Check if this is community property §
n At least one of the debtors and another (See §n$ll'ucii°n$) §
Other information you wish to add about this item, such as local
property identification number: §

Official Fonn 106NB Schedule AIB: Property page 1

Debtor ‘l Joh n Thu rman Payne Case number iiriquni

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 

 

F'rist Name Midde Name i.ast Name
What is the property? Check all that apply. go notdedu¢t secured claims or exempgons_ put
’ n - l -§ l.he amount of any secured claims on Schedule D.‘
§ 1.3. Smg e_fam' y h_°m¢_a _ _ Credii‘ors ttii‘io Have Clai'ms Secured _by Properly. t
§ Street address, if availabie, or other description m Duplex or multi-unit building .~.~ .- H. a .t s … a t . am a , ..-_..e. §
m Condom§n§um or cooperative Cri§.iti_'rent value o?f the Cu'r§i:ient value of;he §
§ m Nlanufactured or mobile home 9 we property po on you own §
§ n Land $ $ §
Cl investment property §

C§ty Sta§e Z§P Code n T§mesha§,e Describe the nature of your ownership §
§ n interest (such as fee simple, tenancy by §
Other the entireties, or a life escate), if known. §
l §
§ Who has an interest in the property? Check one.
C a Debtor 1 only §
§ ounty m Debtor 2 only §
n Debtor 1 and Debtor2 only n chec_k if thi§`- is C°mm""lty P"°Pe¢`t¥ §
n At least one of the debtors and another (See 'ns“ucl[ons) t
§ ?.
Other information you wish to add about this item, such as local
§ property identification number: §
2. Add the dollar value of the portion you own for ali of your entries from Part 1, including any entries for pages $ 505§00(]_{][]
you have attached for Part 1. Write that number here. ...................................................................................... ') __'_“_'
M nescrihe Your vehicles §
Do you own, iease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles §
you own that someone else drives if you lease a vehicle, also report it on Scheduie G: Executoiy Coniiacis and Unexpi'red i_eases. §
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
Cl No
la Yes §
3_,§_ Make: TOyOta Who has an interest in the property? Check one. Do not deduct secured da§ms or exempt§ons_ Put §
i _'““`““""‘“". the amount of any secured claims on Scheduie D:

Modei: Sequola m Debtor 1 °n|y Credil‘ors Who Have Clai'ms Secured by Property §
§ _ 2010 ];l Debtor2 only w ~< ~ ~ s ~~ -»»»- »-=»…M J-»--- - §
; Yea"- __________ 13 Debtor.| and Debtor 2 cn§y Current value of the Current value of the §
APPFOX§mate mi’eag@: ______165000 m At least one of the debtors and another entire property? portion you own? §
§ Other infon'nation: §
, . 17 . . §
§ El Check if this is community property (see $ 15' 5 00 $ 15'175 00 §
instructions) §
z z
§ if you own or have more than one, describe here: §
3§2_ Make: TOina Who has an interest in the property? Check one. no notdeduct secured claims or exempuons§ pm §
§ - the amount of any secured claims on Scheduie D.' §
§ Model: Sequloa § Debtor 1 only Credi'iois lMio Have Claims Secured by Property. §
§ Debtor 2 only .… … ,..... l. ......... .. _...”, . `
: Yeal'i __.2010 m Debto§.| and Debtor 2 only Current value of the Current value of the§ '

App"°x§mate mileage: -1_58@0_ n At least one of the debtors and another entire property? portion you own?

Other infonnation:

13 275.00 13,275.00

El check if this is community property (see $ ’ $
§ instructions)

 

 

 

Official Fonn 106AIB Schedule A!B: property page 2

`!

 

Who has an interest in the property? Check one.

Debtor 1 John Thurman Payne
F'rst Name Mld'dle Name Last Name
3_3_ Make:
Mode§: n Debtor 1 only
Cl Debtor 2 only
Year:

Approximate mileage:

Other information:

 

 

 

 

Make:
Mode|:

3.4.

Year:
Approximate mileage:

Other information:

 

 

 

 

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, tishing vessels. snowmobiles, motorcycle accessories

a No
Cl Yes

Make:
Model:

Year:

4.1.

Other information:

 

 

 

 

if you own or have more than one, list here:

 

 

 

 

n Debtor‘l and DebtorZ only
l:l At least one of the debtors and another

El Check if this is community property (see
instructions)

Who has an interest 111 the property? Check one.

n Debtor 1 only

El Debtor 2 only

m Debtor1 and Debtor2 only

a At least one of the debtors and another

n Check if this is community property (see
inslruclions)

Who has an interest in the property? Check one.

n Debtor1 only

n Debtor 2 only

n Debtor1 and Debtor 2 only

|:l At least one of the debtors and another

l:l Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

Case number rrri<rmwn)

` Do not deduct secured claims or exemptions Put

re ¢- ,..,r.

Current value of the 7

the amount of any secured claims on Schedule D.‘ §

Credr'tors ero Ha ve Clai'ms Secured by Pmperty

Current value of the §
portion you own? §

Current value of the
entire property?

Do not deduct secured claims or exemptions Put §
the amount of any secured ctaims on Schedul'e D: l
Creditcrs lMJo Have Cl'ar‘ms Secured by Property `
Current value of the §
portion you own?

Current value of the
entire property?

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D.'
Credr'tors Who Ha ve Clar'ms Secur'ed by Propen‘y.

Current value of the §
portion you own? §

 

entire property?

 

 

 

 

 

 

4'2_ Make: Do not deduct secured claims or exemptions Put
a Debtor 1 am the amount of any secured claims oh Schedule D:
Model: a 3' creditors Who Have crarms secured ny Properry
Debtor 2 only
Year` m Debtor1 and Debtor 2 only §:t';:;nl:r:;l::;,; the §:l;ri:'::;::lu::;;he l
Other 'nf°"mat'°n: n At least one of the debtors and another §
l
m Check if this is community property (see $ $
instructions) §
5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages $ 28’45{]_[]0
ou have attached for Part 2. Write that number here .............................. ') ____
Y
Oflicial Fonn 106AIB Scheduie AiB: Property page 3

Fill in this information to identify your case:

Debtm John Thurman
First Name Middle Name

Debtor 2 Amber Ca ro|

 

 

(Spouse, ii iiling) FimrName Midar= Name

United S‘lates Bankruptcy Court for the: Wesiem Dislric't of Texas

 

C|fa:e number m Check if this iS all
( "°“'“) amended -liling

 

 

Official Form 1060
Schedu|e C: The Property You Claim as Exempt cans

Be as complete and accurate as possible. lf two married people are tiling together, both are equally responsible for supplying correct information

Using the property you listed on Schedu!e A/B.' Property (Ot'ticial Form 106AIB) as your souroe, list the property that you claim as exempt if more
space is needed, till out and attach to this page as many copies of Part 2.' Additr'onal Page as necessary On the top of any additional pages, write
your name and case number ('rf known).

For each item of property.youtclaim as exempt, you must specify the amount of the exemption you clalm. One way of doing so is to state a
specitic dollar amount as exempt Altematively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exomptions_such as those for health aids. rights to receive certain benefits, and tax-exempt
retirement funds-may be unlimited in dollar amount. However, if you claim an exemption of100% affair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

m ldentify the Froperty You Claim as Exemp'l:

_ 1. Wh|ch set of exemptions are you claiming? Check one only, even ifyourspouse is ming with you.

w You are claiming state and federal nonbankruptcy exemptions 11 U.S.C. § 522(b)(3)
El ¥ou are claiming federal exemptions 11 U.S.C. § 522(b)(2)

\

j 2. For any property you list on Sched'ule A/B that you claim as exempt, fill in the information belo\v.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption j

 

 

 

 

 

Schedu.le A/B that lists this property portion you own
Copy the value from Check only one box for each exemption
Schedule A/B
§§§;ripuom 1705 Pagedale CQv $ 505,000.00 E;l $ P'°Pe"fy 41-001’ 41~002
Line from 100% of fair market value, up to
Schedwe A/B_. 1 .1 any applicable statutory limit
§§§§ripnom mmasegma_ s 15.175.00 n $ Propertv 42.001. 42.002
- m 100% of fair market value up to
L f ,
,§3§¢5353¢1/5.~ , "“_, , , , , , ,, ,, ,, , ,, , ,, ,,:"Fy,,et',‘e?t Sf€%‘f‘?r!i',':‘,&, ,, , , _ _
dB;iSe[f:riptim-r TO: foia §eg!!gi§ $ 13!275_00 n $ Pl'Opel`ty 42.001, 42.002
|_;ne from m 100% of fair market value, up to

 

Schedu,e A/B_. 3 2 any applicable statutory limit
3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4101!19 and every 3 years ailerthat for cases filed on or after the date of adjustment.)
n No
es. r you acquire e prope covere y e exemp ron wi in , ays e ore you e is case.
[ZY D'd ` th rty db th t' 'th` 1215d b f til dth‘ 'P

MNo

_Cl Yes

Olticial Fonn 1060 Schedule C: The Property You Claim as Exempt page 1 of_g_

John

Flrst Name

Addil:ional Fage

Brief description of the property and line
on Schedule A/B that lists this property

Thurman
LastName

Debtor 1 Payne Case number pornoqu

 

Middle Name

Current value of the Specific laws that allow exemption

portion you own

Amo_unt of the exemption you claim

Schedule A/B:

Official Form 1060

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

any applicable statutory limit

Schedule C: The Property You Clalm as Exempt

 

 

 

 

 

 

 

 

 

 

 

 

Copy the value from Check only one box for each exemption
Schedule A./B
§§§;ription. Household goods 3 7,500_00 n $ P'°Perty 42~001- 42-°02
line from 3_6 - q 100% of_fair market value, up to
schedule A/B: _ _ _ _ _ any "’PP_‘E°?_*’_'€§¥?_FE‘E'_Y_'_'F¥‘E_ _ _ _ _ _ ___ _ __
:;ise;ription_ F|er‘tronics $ 5,000.00 |:i $ Property 42'001' 42'002
|_ine from D 100% uf fair market value, up w
Schedu;€l A/B_- L__ any applicable statutory limit
§;f;nption_ Sporls Equipment $ 1,000_00 g $ PFOP€FW 42-001» 42-002
Line from 3 9 M 100% affair market value, up to
Schedme A/B: ‘_ any applicable statutory limit
grief _ f C[Othes $ 11000_00 cl $ Pl’Opel'fy 42.001, 42.002
escrlp lon: -_----
Line from 311 1 g 100% of'fair market value, up to
Scfle<_ive_ A/a__ ______________________________ _ _ __ __ ______ ___T!_YP['FEE@;“*_‘H‘P‘Y '"_'_‘"_ __ __ __ __ __ _
§rief_ t_ Jewer|y $ 3|000_00 |-_-l $ PrOpEtl`fy 42.001, 42.002
escrlp lon:
Line from m 100% of fair market value, up to
Schedu;e A/B: B any applicable statutory limit
g:se;ripuon_ Non-farm Anima|s 5 50.00 m $ Property 42-001» 42~002
Line from 3 13 m 100% of fair market valuel up to
Schedwe A/B_. _'_-- any applicable statutory limit
§rief' t_ Cash $ 25_00 a $ Pl’ClpEl'ty 42.001, 42.002
escrlp lon:
Une from 4_15 12 100% of fair market value, up to
agrees A/B_ __ __ _____ ___ __ar_‘yf°‘_"_?‘t°a'°'? ?‘?_‘_“_*E[¥ _'i'_‘ji_t______ __ __ _ _ __
§;i§;nption, Degosits of Money $ 82.00 g $ PFOPEFW 42-0011 42-092
me from M 100% affair market value, up to
Schedw.e A/B_. 4.1 7 any applicable statutory limit
§;i:;ription_ Brol<erage Accounts 5 16.00 g $ P*`°PSFW 42-001 l 42-002
me from 4 18 13 100% offalr markel value, up to
Schedule A/B_. -4_- any applicable statutory limit
E:Se;rip“on_ Retirement Accounts 3 122.00 g $ G°Vemment 81 1305
Line from 421 M 100% uf_falr market valuel up to
_S¢ttsstui§_d_/_Ef__ _ _ _ _ F‘_“_’_’_ B_PP“_°_°FF_'¢ S‘_a“‘t°'y "F‘_"t____ __ ___ _ _ _ _ __ _ _
§§§§rip“on_ Other Amounls $ 400.00 g $ PrOPerfY 42-0010>) (1)
Line from a 100% of fair market value, up to
Schedwe NB_. 4-30 any applicable statutory limit
E;i;’;ript.|on_ |nsurance Po|icies $ 0.00 |;| $ ln$urance 3-50`4(11) (3)
- g 100% affair market value, up to
Llne from d 31

 

page .3_ of l

‘£I Greater Texas Federal Credit U

 

Fill irl this information to identify your case:

 

 

Debtor1 John Thurman Payne
F'rst Name Mlddle Name _ 7 Last Name

oeolor z Amber Carol Payne

(Spouse. ifliling) Frrst Name Middie Name La.'d Name

United States Bankruptcy Courr for the: Wesiem Dislrict of Texas

Case number
llf known)

 

 

Ochia| Form 106D

 

Schedule D: Creditors Who Have Claims Secured by Property

El check iflhis is an
amended filing

12I15

 

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
lnformation. lf more space is needed, copy the Additional Fage, till it out, number the entries, and attach it to this forrn. On the top of any

additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?

cl No. Check this box and submit this forln to the court with your other schedules You have nothing else to report on this foml.

w Yes. Fill in all of the information below.

m l.ist All Secr.rred Claims

 

2. List all secured claims. lf a creditor has more than one secured claiml list the creditor separately
for each claim. lf more than one creditor has a particular claim, list the other creditors in Part 2_
As much as possible. list the claims in alphabetical order according to the creditor's name.

 

§Column A Column"B _ § Column C
"Amoun`t of claim {Vall'le of collateral 5 f Unsecured
`oo nol ooauor lho ithat supports this i; portion
jvalue of collateral § ;:Claim ` ; lt any

 

 

$ Z§,'§éé`.oo; “'g""}éb§:odo§"i")'o$§"' ' “ W

 

 

 

 

 

 

 

-_-?I] Amp|jfy Credit Union Descrlbe the property that secures the claim:

Creditor's Name'

3600 W Parmer Lane 1708 Pagedaie COV€. Cedal' Pafk, TX

Number Street 78613 (|tem 1.1)
AS of the date you file, the claim is: Check all that app|y.
n Contingent

Austin TX 78727 El unliquidated

City Stale ZlP Code n Disputed

Who owes the debt? Check one.

q Debtor 1 only

n Debtor 2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

Nature of lien. Check all that apply.

w An agreement you made (such as mormage or secured
car loan)

n Statutory lien (such as tax lien, mechanio's lien)

cl Judgment lien from a lawsuit

El other (inoiucling a light lo olsen
n Check if this claim relates to a
community debt

Date'debtwasincurrede.OEH 6/2015 Last 4'di§i\s of_account number i 1 _§ _Z_

 

Descrlbe the property that secures the claim:

 

3 20,804.00 3 13,275.00$

 

 

 

 

 

 

 

 

Credilors Name

6400 North Lamar Toyota Sequoia 2010 (|tem 3.2)

Number Street
As of the date you file, the claim is: Check all that apply_
\:[ Contingent

AUSi'.il'l TX 78752 n Uniiquidaied

City Slate ZlP Code n Disputed

Who owes the debt? Check one.

U Debtor 1 only

n Debtor 2 only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another

Nature of lien. Check all that apply.

q An agreement you made (such as mortgage or secured
car loan)

m Statutoly lien (such astax |ien, mechanic’s lien)

n Judgment lien from a lawsuit

ii other (inoluoing a right to orfsel)

Et 'cheolr'ir this claim relates to a l -
community debt

Date debt was incurred 12"01"2014 Last 4 digits of account number_3 __2_ _3 _4

 

Add the dollar value of your entries in Column A on this page. Write that number here:

 

FM|

 

Of&cial Form 106D

Schedule D: Creditors Who Have Claims Secured by Property

page1 of §__

 

John

F'l'st Name

Thurman

Last Name

Payne

Debtor1

Case number iirimdwni

 

Middla Name

 

 

Addm°"" page ::dmntef"i " " zo’:!m'n z 'li te"l gamma-ti
z mounoca titlel coa ra nsecre

After listing any entries on this page, number them beginning with 2.3, followed iDo not deduct th': that ‘:ppom this portio:

by 2'4’ and s° f°"h' 31!9!\499€9>1!9:9!“!_-. ._,,,,°,'Pj_!!', ,, _,,Ir_anv__.d.

 

 

l- Greater Texas Federal Credit U

 

Creditor's Name

6400 North Lamar

Describe the property that secures the claim: $ 20=354'00 $ 15'175'00 $

 

 

 

Toyota Sequoia 2010 (|tem 3.1)

 

 

 

 

Number Street
Austin TX 78752
City State ZlP Code

Who owes the debt? Check one.

Debtor1 only
n Debtor 2 only
n Debtor 1 and Debtor 2 only
n At least one of the debtors and another

Ei check ii this claim relates to a
community debt

Date debt was incurred 11/01 12015_

As of the date you tile, the claim is: Check all that apply.
n Contingent

El unliquidated

El Disputed

Nature of lien. Check all that apply.

g An agreement you made (such as mortgage or secured
car toan)

El Statutory lien (such astax lienl mechanic's lien)

El Judgment lien from a lawsuit

El other (inciuding a right to offset)

Last4 digits of account number____§_ __Z_ __§_ ___§_

 

Z'_"¢| lVli'. Cooper

 

Describe the property that secures the claim: . $ 345'843'$01 $ _505'000'00 $

 

 

 

 

1708 Pagedale Cove, Cedar Park, TX 78611

 

 

 

Creditol‘s Name

8950 Cypress Waters Blvd
Number Street

Coppell TX 75019
City State ZiP Code

Who owes the debt? Check one.

E/Debtor 1 only

n Debtor 2 only

n Debtor1 and Debtor 2 only

m At least one of the debtors and another

n Check if this claim relates to a
community debt

Date debt was incurred 05121/2007

As of the date you tilel the claim is: Check all that appiy_
a Contingent

El unliquidated

n Disputed

Nature of lien. Check all thatapply_

q An agreement you made (such as mortgage or secured
mar loan)

l;l Statutoiy lien (such as tax lienl mechanic's lien)

El Judgment lien from a lawsuit

El other (including a right to oirset)

Last 4 digits of account number__O__ __1_ _3__ _[_]_

 

._l

 

Cmditor's Name

Describe the property that secures the claim: $ $ $

 

 

Number Street

 

 

 

 

 

city Staté zll=l code
Who owes the debt? Check one.

El Debtor 1 only

\:l Debtor 2 only

n ` Debtor 1 and Debtor 2 only

m At least one of the debtors and another

n Check if this claim relates to a
community debt

Date debt was incurred

As of the date you file. the claim is: Check atl that apply.
cl Contingent

El unliquidated

Cl Disputed

Nature of lien. Check all that appiy.

n An agreement you made (such as mortgage or secured
car loan)

B ‘Statutory lien (such as tax lien, mechanic‘s lien)

n Judgment lien from a lawsuit

m Other (including a right to offset)

Last 4 digiu; of account number

 

 

 

Add the doltar value of your entries in Column A on this page. Write that number here: $ 366,197_00
[f this is the last page of your fonn, add the dollar value totals from all pages. 430 837 00
W.ri_to_tba_f~_num._be;l_ier_er $ ’ `

 

 

Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page_z_ of 3_

Debtor1 John Thurman Payne Case number(lridldwnl
Fltet Name ll!ldd`e Name Lalt Name

List others to se thitied for a oeht That Ydu Alr¢ady Listed

 

 

 

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part1, and then list the collection agency here. Simi|arly, if
you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. lf you do not have additional persons to
be notified for any debts in Part 1, do not fill out or submit this page.

 

§:§ On which line in Part 1 did you enter the creditor?
t Name Last 4 digits of account number

 

Number Street

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

City State ZlP Code
§_§ On which line in Part1 did you enter the creditor?
§ Name Last 4 digits of account number_ ___ __ _
§ Number Street
city state ziP code
|_§ On which line in Part 1 did you enter the creditor?
Name Last4 digits of account number____ ______ m ____
l
Number Street
l
§ city state zlP code
§___§ On which line iri Part1 did you enter the creditor?
§ Name Last 4 digiw of account number__ _ ____ _
Number Street
l
t
§ City State ZlP Code
§_§ On which line in Part1 did you enter the creditor?
Name Last 4 digits of account number_ _ _ _
§ Number Street
l
§ city state zlP code
§_§ On which line in Part 1 did you enter the creditor?
§ Name Last4 digits of account number__ __ ___ __
l
Number Street
§ city state zlP code

 

Official Fonn 106D

Part 2 of Schedule D: Credltors Who Have Claims Secured by Property

page §_ of3_

 

Fi|| in this information to identify your case:

garmon John Thurman Payne

First Name Middla Name Last Name

Debtor 2 Amber Caro| Payne
[Spouse, i‘lfllin|) Firat Name Mlddle Name Last Name

United Siates Bankruptcy Coult for ther Wesiem District of Texas

 

C be L_.l Check if this is an
ii?::d::)m r amended filing

 

 

Official Form 106E/F
Schedule EIF: Creditors Who Have Unsecured Claims izris

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPR|OR|TY claims.
Llst the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Scheduie
A/B: Property(Official Fonn 106AIB} and on Schedule G: Executory Contrac|s and Unexpr'red Leases (Ol‘ficial Form 1066). Do not inciude any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Ci'aims Secured by Property. lt more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 

List: All of Your PR|OR|T¥ Unseourod Claims

 

1. Do any creditors have priority unsecured claims against you?
q No. 60 to Part 2.
n Yes. _ _ _ _

2. List all of your priority unsecured claims. if a creditor has more than one priority unsecured claim, listthe creditor separately for each claim. For
each claim iisted, identify what type of claim it is. lf a claim has both priority and nonpriority amounts, list that claim here and show both priority and

nonprr`ority amounts As much as possib|e. list the claims in alphabetical order according to the creditors name. lf you have more than two priority
unsecured claims, till out the Continuation Page of Part 1. lt more than one creditor holds a particular claim, list the other creditors iri Part 3.

(F_or an explanation _of each type_of clai`m, see the instructions for this fortn iri the instruction booklet.) __ __ __ __ __
Total claim Priority Nonpriority

 

 

 

 

 

 

 

 

 

s , ..W. , ,, … ,,._.3,!'|.19",!‘.|!,~. ..a\‘ll.Qll,l‘!S,..'.l.....
2.1
Last 4 digits of account number __ _ _ __ 3 5 5
Pl'iority Creditor's Name
When was the debt incurred?
Number Street
As of the date you fi|e, the claim is: Check all that apply.
city state ziP code n C°"H“ge“§
. Cl unliquidated
Who incurred the debt? Check one. n Disputed
a Debtor 1 only
El center 2 only Type er PRioRiTY unsecured claim:
§ Debtor 1 and Dem°rz °"]y n Domestic support obligations
At least one of the debtors and another m Taxes and certain other debts you owe the govemment
C} Check if this claim is for a community debt n Ciaims for death or personal injury white you were
ls the claim subject to offset? 'm°"'°a§ed
m No m Other. Spec'rfy
cl Yes
2‘2 § Last4 digits of account number _ _ _ _ s s 3

 

Ptiority Creditors Name

 

When was the debt incurred?

 

 

 

Number Street
As of the date you tile, the claim is: Check all that apply.
El Contingent

city state ziP code Cl unliquidated

Who incurred the debt? Check one. cl Disputed

El Debtor 1 only

n Debtor 2 only

n Debtor‘l and Debtor 2 only

El At least one cf the debtors and another

Type of PRIORITY unsecured claim:
m Domestic support obligations
Cl Taxes and certain other debts you owe the govemment

El i ' re d in red l' ' '
El check ii this claim iereraeommunity debt emma ' ea °r"e "a '"’“W““’ley°"were

 

 

intoxicated
ls the claim subject to offset? n Other. Specify
Cl No
a Yes

 

 

Official Forrn 1USEIF Schedule EIF: Credltors Who Have Unsecured Claims page 1 of__`:|

Debtor 1 John Thurman

Payl"|e Case number tirlmown]

 

First Name Middla Name

LIE\ Name

" m Your PR|OR|TY Unsecurod Claims - Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth. y Total claim Pi_'iority Nonpriority
. amount amount
Last 4 digits of account number _ _ _ _ $ 3 5
Prien'iy creditors Name
When was the debt incurred?
Number Street
As Of the date you file, the claim is: Check all that apply.
l;l Contingent
city suite zip code l;l unliquidated
Cl Disputed
Who incurred the debt? Check one.
El Debtor1 only Type of PR|OR|TY unsecured claim:
g Debtor 2 only L_.l Domestic support obligations
Debtor 1 and Debtor 2 only §;l Taxes and certain other debts you owe the government
n At least one of lhe debtors and another . . . .
n Claims for death or personal injury while you were
cl Check if this claim is for a community debt '"t°’“°ated
El other specify
ls the claim subject to offset?
a No
ij Yes
Last4 digits of account number _ _ _ _ $ 5 $
Priority Creditor’s Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
a Contingent
city state ziP code Cl Unliquidated
a Disputed
Who incurred the debt? Check one.
U Debtor 1 only Type of PRIOR|T‘( unsecured claim:
§ Debtor 2 only g Domestic support obligations
a Debtom and Debtor 2 only n Taxes and cerlain other debts you owe the government
At least one or the debtors and another n C]aims for death or personal injury while you were
n Check if this claim is for a community debt '"t°x'°ated
El other specify
ls the claim subject to otfset?
g No
l;l Yes
Last 4 digits of account number ___ _ _ _ 5 3 3
Priority Creditoi's Name
When was the debt incurred?
Number Street
As of the date you filel the claim is: Check all that apply.
|;l Contingent
city state ziP code El Unliquidated
El oispuied
Who incurred the debt? Check one.
El centum only Type of PRioRri'Y unsecured claim:
g Debtor 2 only m Domestic support obligations
m Debtur1 and Debtor 2 only n Taxes and certain other debts you owe the government
At least one of me debtors and another m C|aims for death or personal injury while you were
n Check if this claim is for a community debt 'nt°mwted
El othet. specify
ls the claim subject to offset?
n No
\;l Yes

 

 

Official Fonn 106EIF

Schedu|e ElF: Credltors Who Have Unsecured C|aims

page .?_‘. °f ._l’_`

Debtom John Thurman

Payne

 

First Name Midde Name Last Name

m List All of Your NONPRIOR|TV Unsecured Claims

Case number (i't'lainwn)

 

§ 3. Do any creditors have nonpriority unsecured claims against you?

l l:l No. You have nothing to report in this part. Subrnit this form to the court with your other sched ules.

Yes

claims till out the Continuation Page of Part 2.

 

 

 

itt List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. if a creditor has more than one
nonpr'iority unsecured claim, list the creditor separately for each ciaim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. |f more than one creditor holds a particular claim, list the other creditors irt Part 3.lf you have more than three nonpriority unsecured

 

 

 

 

 

 

 

 

 

 

Who incurred the debt? Check one.

q Debtort only

El Debtorz only

l;l Debtor 1 and Debtor 2 only

l;l At least one of the debtors and another

l;l Check if this claim is for a community debt

ls the claim subject to otiset?

q Ne
El ¥es

 

§ f Total claim
E American Express Last4 digits of account number_z_ _Q__ _£ _3 13 220 00
Nonpriority Creditors Name $.___.._‘._'__
PO Box 981535 When was the debt incurred? 04101/2016
Number Street
E| Paso TX 79998
city state ziP cede As of the date you filel the claim is: Check all that apply.
El Contingent
Who incurred the debt? Check one. [| Uniiquidaied
w Debtor1 only n Disputed
n Debtor 2 only
Cl Debtorl and Debtor 2 only Type of NONPRIOR|TY unsecured claim:
l:l At least one of the debtors and another cl Smdent loans '
[___| check if this claim ls for a community debt a Obligatlons arising out of a separation agreement or divorce
that you did not report as priority claims
ls the Claim Sl.lbject to OffSef? n Debts to pension or proiit-sharing plans, and other similar debts
m N° other. specify credit card
l:l Yes
4-2 l American Express Last 4 digits of account number _‘l _0 _0_ __7_ s___M
Nonpriority creditors Name When was the debt incurred? 07! 01/201 6
PO Box 981535
Number Street
El paso TX 79998 As of the date you fi|e, the claim is: Check all that apply.
City State ZlP Code E] Contingent
who tneuneti the tieth cheek one El unliquidated
l:l Debtor 1 only n D'Sputed
m Debtorz only .
m Debtor 1 and Debwr 2 only Type of NONPR|OR|TY unsecured claim:
l:l At least one of the debtors and another l:l Student loans
_ _ _ _ _ El Ob|igations arising out cfa separation agreementor divorce
l;l Check if this claim ls for a community debt thath did nut raped as priority elaine
is the claim subject to offset? m Deth to pension or prollt-sharing ptans, and other similar debts
El ila other. speeiiy credit card
m Yes
'3 | Amp|ify Credit Unlol'| Last 4 digits of account number _9_ _4_ _O_ _3 3 533 00
Nonprlotity Creditors Name $__.._.4
When was the debt incurred? illile
PO Box 85300
Number Street
Austirl TX 78708 . _ _
city Sta\e Z[P code As of the date you ftle, the claim ls. Check all that apply.

53 Contingent
E.`l unliquidated
Ci Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

n Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

m Debts to pension or profit-sharing plans. and other similar debts

ii other. specify personal loan

 

Ofl'lcial Fom'l 106EJ'F

Schedu|e Ele Creditors Who Have Unsecured Ciaims

page§ r)f_|_fl

 

gemert John Thurman Payne

 

Firat Name Mi dole Nii me Last Name

Case number (iir¢.-iuwn)

n Your NCNFRlORIT¥ Unsecured Claims - Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

After listing any entries on this 'page, number them beginning with 4._4, followed _by 4.5, and so forth. _Total claim`
4_4 AMP\\C Ql”eol\'i' Unior\ ky
M Last4 digits of account number l g l l $ 30,950_00
Nonprioi'ity Creditoi‘s Name v
When was the debt 'n ned? 03/02/2016
Po Box 35300 ' "'“ _-
Number Street , _ . _
Austin TX 78708 As of the date you file, the claim is. Check ali that apply.
city Stale ZlP Code \;l Contingent
_ El unliquidated
Who incurred the debt? Check one. ij Disputed
q Debtor‘l only
Cl Debtor 2 only Type of NONPR|ORITY unsecured claim:
§ Debtor1 and Debtor2 only m Studem loans
At least one of the debtors and another cl Obligations arising out of a separation agreement or divorce that
|;l Check if this claim is for a community debt you did not report as p"°my d?'m`°’ _ _
n Debts to pension or profit-sharing plans, and other similar debts
is the claim subject to offset? Other. Specify personal loan
d No
Ei Yes
ss -- 1 1 3 9
Bank Of America Last4 digits of account number _ _ _ ____ $M
Nonpriority Credilor's Name
When was the debt incurred? 04/01/2015
PO Box 982236 w
Number Street
A f h da f'i , h ' ` : .
E; Paso TX 79998 s o t e teyou le t e claim is Check all that apply
Ci'iy SfEle ZlP COdB n Contingent
_ E| unliquidated
Who incurred the debt? Check one. n Disputed
l;l Debtor 1 only
m Debtor 2 only Type of NONPR|OR|TY unsecured claim:
cl Debtor1 and Debtor 2 only m Studem loans
cl m least one of me debtors and another m Ob|igations arising out of a separation agreement or divorce that
|;l Check if this claim is for a community debt you did not report as priority claims
|;l Debts to pension or proiit-shaiing plans and other similar debts
is the claim subject to offset? dorman Specifv Credit gard
g No
[.;l Yes
4.6| $11,635.00
Barclaycard Last 4 digits of account number _3_ __§__ ___8__ 1 __"`
Nonpi'icrity Creditoi’s Name
when was the debt incurred? 031'011'201 6
PO Box 8833 '"__“'
Number Street
. As ofthe date ou f‘le the c|a`m ‘s: h k |lth t .
wilmington DE 19899 y ' ’ ' ' ° e° a a ap"”
Cif)' Sfai.e ZlP CDC|€ m Contingent
n iquidai
iJ o r ' ed
Who incurred the debt? Check one. n Disputed
m Debtori only
C.l Debtor 2 only Type of NONPR|OR|TY unsecured claim:
i:l Debtor1 and Debtor2 only cl Studenuoans
a N least one of me debtors and another [:l Ol)|igations arising out of a separation agreement or divorce that
U Check if this claim is for a community debt you d'd not report as pn°"ty c|_a'ms _ _
n Deth to pension or profit-shaan plans, and other similar debts
ls the claim subject to offset? a Other_ Specjfv credit card
w No
El Yes

 

 

Official Form 106EIF

Scliedule EIF: Creditors Who Have Unsecured Claims

 

page1 of g

Debtor t John Th urman Payne

 

FirstName M|dd|e Naz:ie Last Name

Case number iiti<nowni

Your NONPR|OR|T¥ Unsecured Claims -- Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

_After listing any entries _on this page, number them beginning with 4_.4, followed by `4.5, and so forth. Tota| claim "
4.7 . .
Best Buy Credit Services Last‘ d'g"s °f a°°°""t ""'“b°' l -4- l l 5 10,166.00
Nonpriority Crodiloi’s Name
~ ‘l 2l0‘l 1201 5
PO Box 790441 When was the debt incurred?
N be sir t
S“‘;` L;)uis °° MO 63179 ns ortho date you filo, the claim is: check ali matapply.
guy slate ziP code Cl Contingent
n Un|iquidated
Who incurred the debt? Check one. a Disputed
|;l Debtor 1 only
q Debtorz only Type of NONPRlOR|TY unsecured claim:
g Debtor 1 and Debtor2 only a Swdem loans
At seam one °f the dabt°'s and a“°ther a Ob|igations arising out of a separation agreement or divorce that
|;l Check if this claim is for a community debt you md not minn as pnonty C|,a'ms _ .
g Debts to pension or prolit-shanng plans. and other similar debts
ls the claim subject to offset? g other_ gmfy Credit Card
d No
n Yes
id __ 9 7 5 l
` Capifa| One Ser\,rjces1 [_|_C Last4 digits of account number _ _ ____ __ $M
Nonpriorlty Creditan Name
When was the debt incurred? 03/01/2015
PO Box 70886 ___'
N be stre t
§T_l a;_lotte a NC 28272 As of the date you file, the claim is: Check all that apply.
orr 5le ziP Code Cl contingent
El unliquidated
Who incurred the debt? Check one. n Disputed
q Debtor1 only
El Debtorz only Type of NONPR|OR|TY unsecured claim:
g Debtor‘l and Debtor2 only n Studem hans
At least one of the debtors and another n Obligations arising out of a separation agreement or divorce that
Cl Check if this claim is for a community debt you md not report as pmm d_a'ms
l:l Deth to pension or profit-sharing plansl and other similar debts
ls the claim subject to otiset? g Other_ Specirv Credit Card
g No
n Yes
4.9| s 1,669.00
Cardmember Service Last 4 digits of account number 1 _"l __O_ __§_
Nonprlority Creditors Name
When was the debt 'ncurred? 10101/201 6
Po Box 108 '
Number Street
. Asofthedate o f'|,th I' `:Ch k lltht l.
st Louls Mo 63166 y " ‘° e°°"“ "°` e° a a am
city stale ziP code El contingent
Cl Unliquidated
Who incurred the debt? Check one. [] Disputed
a Debtor‘l only
Cl Debtor 2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtor 2 only m Student loans
At jeast one °f me debtors and a"°iher l;l Obligations arising out of a separation agreement or divorce that
El check if this claim is fora community debt y°“ d'd "°t rel’°'t as p"°“ty °'F"ms
El Debts to pension or proiit-sl'ianng plans, and other similar debts
ls the claim subject to offset? a Other_ gpe¢ify Credit Card
m No
n Yes

 

 

Oilicial Form ‘EOEEIF

Schedu|e EiF: Creditors Who Have Unsecured C|aims

page gofg

Debtori JOhIl Thurman Payne

 

Fl'st Name Midtla Name Last Name

Case number (irlmawnl

m Your NONFR|ORITY Unsecured Claims - Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

'Alter listing any entries on this page, number them beginning with 4.4, followed by_ 4.5, and so forth. Tota| claim "
Ll.io
Cardmember Service Last4 digits of account number i l l i $ 21267_00
Nonpriority Creditors Name
PO Box 108 When was the debt incurred? 04101/2016
N ber street
S“'t" Louis MO 63166 As or the dale you riic, the claim is: check all thatapply.
city Slala ZlP Code El Contingent
E] unliquidated
who incurred the debt? Check one_ g Dispmed
q Debtori only
a Debtorz only Type of NONPRIOR|TY unsecured claim:
§ Debtori and Debtor 2 only a Swdem loans
At 'eas‘ one °nhe debf°rs and a"°mer Cl Ob|igations arising out of a separation agreement or divorce that
[3 Check if this claim is for a community debt you did not minn as monty d:a|ms . .
l;l Debts to pension or profit-shaan plans, and other slmilar debts
is the claim subject to oftset? g Other_ Specify Credit Card
g No
Cl Yes
4'“ - Last 4 di its of account number 4 8 2 2 4 389 00
Chase Cardmember Services 9 --- -~ _ _ $_=~'_
Nonpliority Crediloi’s Name
PO Box 15298 When was the debt incurred? 02/01/2015
ha treat
Wm;ingto; DE 19850 As of the date you fi|e, the claim is: Check all that apply.
City Stat€ Z|F' Code m Contingent
El unliquidated
Who incurred the debt? Check one. cl Disputed
a Debtor 1 only
q Debtor 2 only Type of NONPR|OR|T‘( unsecured claim:
§ Debtor 1 and Debtor 2 only cl Student loans `
N least one °f me debtors and an°ther a Obligations arising cut cfa separation agreement or divorce that
Cl Check il this claim is for a community debt you d'd mt report as priority d?'ms . .
L_.l Debts to pension or prolit-shanng plans. and other similar debts
is the claim subject to offset? E/Other. Specify Credit Cal'd
g No
n Yes
.i _ _ 5 3 2 $ 657.00
Discover Last 4 digits of account number _ _ ____ i _'
Nonpriority Credilol*s Name
PO Box 30421 When was the debt incurred? 02101[2016
tie treat
NS";|trLake scity UT 841 3 0 As of the date you tile, the claim is: Check all that apply.
ciiy state zlP code L_..l contingent
El unliquidated
Who incurred the debt? Check one. n Disputed
El canton only
a Debtorz only Type of NONPR|OR|TY unsecured claim:
g Debtori and Debtor2 only C| Student loans
At least °"e °f the debt°rs and another l;l Obligations arising out of a separation agreement or divorce that
n Check if this claim is for a community debt you md nut report as monty mens . .
5 Debts to pension or prolit-shanng plans, and other similar debts
ls the claim subject to offset? a Other, Spe¢-,ify Credit Card
a No
n Yes

 

 

Official Fonn 106ElF

Schedule EiF: Creditors Who Have Unsecured Claims

page§ of_':\

Debtor 1

John Thurman Payne

 

First Name Midde Name Llst Name

Case number iifidiown)

m Your NONFR|OR!TY Unsecured claims - continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

A_fter listing any_entries on this page_, number them beginning with 4.4, followed by 4.5, and so forth. T`otal claim '
125 ' Last4 di its of account number 5 2 2 5
Flrestone Complete Auto Care 9 _ _ _ _ 5 1 ,038.00
Nonpriority Crediiol‘s Name ____
wh th ~ 09.»'0‘| l20‘l 7
p0 Box 81410 en was e debt incurred?
Number Street . _ _
C|eve|and OH 44181 As of the date you tilel the claim is. Check lall that apply.
city Slaie ziP code Cl Contingent
D unliquidated
Who incurred the debt? Check one. 53 Disputed
m Debtor‘l only
U Debtor2 only Type of NONPRIOR|T¥ unsecured claim:
n Debtor 1 and Debtor 2 only n Studem loans
n M least °"e °f me debtors and another a Obligations arising out of a separation agreement or divorce that
|;l Check if this claim is for a community debt you md not rel_mt as pmm mims
Cl Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? m' Other_ Specify Credit card
g No
[:l Yes
+-_"ll
Goodyear Credit P|an '~°~°"‘4 d'g'*$ °f a°°°"“t '“""be' l~ -1- l i $M
Nonpriolil'y Creditor’s Name
When was the debt incurred? 0810112017
PO Box 6403
N be Slre t
Su'i“ourx ]._.ans a SD 571 17 As of the date you file, the claim is: Check all that apply.
City S\S\E ZlP C°dl g Contingent
Cl unliquidated
Who incurred the debt? Check one. g Dispmed
m Debtor1 only
q oeuiorz only Type of NoNPRloRiTY unsecured claim:
g Debtor 1 and Debtor 2 only m Student loans
m least one °f the debtors and another i:l Obligations arising out of a separation agreement or divorce that
Cl Check if this claim is for a community debt you d'd not report as pmm cl_alms
cl Debts to pension or profit-sharing plansl and other similar debts
ls the claim subject to offset? g Other. Specifv Credit Card
g No
m Yes
`4.l _ _ 0 L 5 531,598.00
Greater Texas Federal Credit Union Las“ d'g“s °f a°°°“"t number _ _ _ g
Nonprion'ty Creditors Name
When was the debt incurred? 02101/2016
6411 North Lamar Blvd
N be street
pizstrin TX 78752 As of the date you file, the claim is: Check all that apply.
Ciiy State ZlP Code l:l Contingent
l:l Un|iquidated
Who incurred the debt? Check one. n Disputed
cl Debtor‘l only
l:l Debtor 2 only Type of NONPR|OR|TY unsecured claim:
a Debtor‘l and Debtor2 only m mudth loans
n m least °“e °fthe debt°rs and another El Obligations arising out of a separation agreement or divorce that
Cl Check if this claim is for a community debt you md not minn as pn°my d?'ms _ _
m Debts to pension or pruit-shanng plans, and other similar debts
ls the claim subject to offset? g Ou-ier. Specify personal loan
g No
|;l yes

 

 

Official Form 106EIF

Schedule El'F: Creditors Who Have Unsecured Claims

i"l

page l of

Debtor 1 John Th urman Payne

 

FirstNarne Middlc Name Last Name

Case number rirknqwni

m Your NONPR|ORITY Unsecured Clairrls - Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

71 Stevenson Street, Suite 300

 

 

Number Street
San Francisco CA 94105
City State ZlP Code

Who incurred the debt? Check one.

a Debtor1 only

a Debtor 2 only

a Debtor 1 and Debtor 2 only

o At least one of the debtors and another

i:l Check if this claim is for a community debt

is the claim subject to offset?

m No
n Yes

 

After listing any entries on this page, number them beginning with 4.4, followed _by 4.5, and so forth. _ 1 Tota_i claim__'
ama - - Last 4 di its of account n mber 6 5 9 6
Home Depot Credit Services 9 " _ _ -- m $ 6,612.00
Nonpziority Creditors Name
- 1 1 115/201 5
PO Box 790328 When was the debt incurred?
Number Street . . _
St- Louis MO 63179 As of the date you filel the claim is. Check all that apply.
city stale zii= code |;| Contingent
El unliquidated
Who incurred the debt? Check one. n Disputed
Cl Debtort only d
a Debtorz only Type of NONPR|OR|TY unsecured claim:
§ Debtor1 and Debtor 2 only n Student loans
m least one of me debtors and another n Obligations arising out of a separation agreement or divorce that
Cl Check if this claim is for a community debt you did not report as priority claims
cl Deth to pension or profit-sharing plans, and other similar debts
is the claim subject to offset? Other. Speciry Credit Cai'd
g No
m Yes
417 ' ' 2 0 1 3
` internal Revenue Service l Centraiized insolvency Las" d'g'“ °f a°°°“"t """’b°" -- _ _ - $M
Nonpiiority Creditors Name
When was the debt incurred? 04/1 51201 3
P. 0. Box 7346
Number Street
' ' A ` ' : .
Ph||adelph|a PA 19101 s of the date you file, the claim is Check all that apply
ciiy State ZlP Code l;l Contingent
El unliquidated
Who incurred the debt? Check one. jj Disputed
[:l Debtor 1 only
Cl Debtor 2 only Type of NONPR|OR|TY unsecured claim:
g Debtort and Debtor 2 only n Studem loans
At least one of the debtors and another ij Obligations arising out of a separation agreement or divorce that
m Check if this claim is for a community debt you did not raped as priority claims
n Debts to pension or profit-sharing pians, and other similar debts
is the claim subject to offset? g Other, Specify qOVe!‘l“lmel'tt taXeS
a No
a Yes
_4.¢ _ _ 2 6 0 1 524,536.00
Lending club l Weoeonl< / Peyment solutions Depart ’~i“‘*'* d‘g‘i‘°` °f‘*°°°“"t ““"‘"‘" _ _ _ _
Nonpiioiity Creditods Name
When was the debt incurred? 03[1 112016

As of the date you fi|e, the claim is: Check ali that apply.

El Contingent
El unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

l;l Student loans

El Obligations arising out of a separation agreementh divorce that
you did not report as priority claims

m Deth to pension or profit-sharing plans. and other similar debts

E] other. specify jersonal loan

 

 

Official Fon'n 106E/F

Schedule EIF: Creditors Who Have Unsecured Ciaims

page § Of_£\

John Thurman

DEbei’ 1

Payne

 

First Name M£ddle Name Last Name

Case number (iiiniownl

n Your NONFR|OR|TY Unsecured Claims - Continuation Fag¢

 

 

 

 

 

 

 

Totaioiaim

 

 

 

 

 

 

 

 

 

Who incurred the debt? Check one.

Ei Debtor 1 only

n Debtor 2 only

|;l Debtort and Debtor2 only

m At least one of die debtors and another

El Check if this claim is for a community debt

is the claim subject to offset?

g No
cl Yes

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.
4' 11 Last 4 di its of account number 0 9 6 1
Mohe|a 9 _ __ __ _ $ 20,313.00
Nonprioitty Creditors Name
_ _ _ - 08/01[2016
633 Spmt Dnve When was the debt incurred?
Number Street
/ A f h ` ' ' : .
Chesterf|e|d m 0 (0 3 0 9_> s o t e date you filel the claim is Check ali that apply
city Stale ZlP Code m Contingent
_ i:i unliquidated
Who incurred the debt? Check one. n Disputed
la Debtort only
n Debtor 2 only Type of NONPR|OR|TY unsecured claim:
g Debtort and Debtorzonly d Studem loans
m mast one °fthe debtors and ammar cl Obligations arising out of _a separation agreement cir divorce that
n Check if this claim is for a community debt you dld not re'_`mrt as monty cl,a'ms _ _
l:l Deth to pension or profit-shaan plansl and other similar debts
is the claim subject to offset? |;l Other_ Spe°if.,
g No
n ¥es
4.zo|
Paypa| Last4digits of account number l i l Q_ 5 1 673_0(]
Nonpriority Creditol‘s Name
When was th d 'n 09/01,2017
PO Box 5138 e ebti curred?
Number met As of the date u rio in i ' ' - ch k ii th i l
Timonium MD 21094 ’° ' ' e°""" '5' E° a a a"‘“"
gin slate ziP code Cl contingent
_ Ei unliquidated
Who incurred the debt? Check one. m Disputed
a Debtor1 only
|;l Debtor 2 only Type of NONFR|OR|TY unsecured claim:
g Debtori and Debtorz only m Swdem|oans
m least °"e °f me dem°rs and a"°mer m Obiigations arising cut of a separation agreement or divorce that
cl Check if this claim is for a community debt you did not report as mon-tv claims
\:[ Debts to pension or profit-sharing plans, and other similar debts
is the claim subject to offset? d Other, Specny line of credit
g No
n Yes
¢i.zi 519,855.00
Sa"ie Mae Last4 digits of account number l i __2__ _6_ `
Nonprlo:ity Creditors Name
When was the debt 'nc ? OBH 5/2017
P_o. Box 3319 ' “"""°' m
Number Street
. A ofthedte f'|,th |' ':Check llthat l.
Wiimingtori DE 19804 s a you le eca'm 's a appy
City Siale ziP code l;l Contingent

Cl unliquidated
iii Disputed

Type of NONPR|ORITY unsecured claim:

g Student loans

L_..l Obligations arising out of e separation agreement or divorce that
you did not report as priority claims

i:l Dehts to pension or profit-sharing pians, and other similar debts
Ei other. specify

 

 

Official Form 106Ei'F

Schedule Ele Creditors Who Have Unsecured Ciairns

pageg_ Ofll

Debtor 1 Joh n Th uman Payne Case number iiri<ndwni

stt Name Midile Name Last Name

 

 

Your NONPR|OR|T¥ Unsecured Claims - Continuation Page

 

Atter listing any entrles on this pago, number th__em beginning with 4.4, followed _by 4.5, and so forth. § Total claim'_'

 

412

 

 

Sofi Lending Corp Last4 digits of account number l i_ __J_ _7__ s 73'500_00
Nonpriority Creditors Name

One Lettennan Drive, Building A, Suite 4700

 

When was the debt incurred? 02/01/2016

 

 

Number Street Asofthe date ou f'le the l 'm' 'Ch k llth t l
san Francisco cA 94129 Y ' ' °"' ‘s' '°"° a a am
City slate ziP code |;l contingent

El unliquidated
Who incurred the debt? Checkone. n Disputed
g oemori only
Cl camera only Type or NoNPRioRiTY unsecured claim:

m Debtor 1 and Debtor 2 only

El Student loans
Cl At least one of the debtors and another

n Obiigations arising out of a separation agreement or divorce that
you did not report as priority claims

a Check if this claim is for a community debt l _ _ .
cl Deth to pension or protit-sharing plans, and other similar debts

 

 

ls the claim subject to offset? g Other_ specify personal iOal'|
g No
a Yes
' Synchrony Bank Last4 digits of account number __8__ § i _2_ 3 5 178_00

 

Nonpricrity Creditor's Name

- 02/01;2 1
Adn; Bankruptcy oepi, Po Box 965060 “"‘°“"'“"‘"°"""* '"°""‘"°"" -J

 

 

Number Street

A f l ` ' : .
Orlando FL 32896 s o the date you fi e, the claim is Check all that apply
guy Staie ziP code |;l Contingent

l:l Un|lquidated
Who incurred the debt? Check orie. n Disputed
q Debtor1 only
El Debtor 2 only Type of NONPR|OR|T¥ unsecured claim:

m Debtor1 and Debtorz only

El Student loans
a At least one of the debtors and another

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

m Check if this claim is for a community debt _ , _ _
m Debfs to pension or profit-sharing plans, and other similar debts

 

 

ls the claim subject to offset? q Other, Specify Credit Card
g No
El Yes
iii s 6,994.00
Synchrony Bank Last 4 digits of account number l l l l __

 

Norlpriority Crediloi’s Name
Attn: Bankruptcy Dept, F’O Box 965060

Number Street

When was the debt incurred? 021' 06/201 9

 

 

As of the date ou f‘le, the cl `m ` : .
Or|ando FL 32896 y i ai is Check allthat apply
any Siate ZlP Code m Contingent

El uniiquidaied
Who incurred the debt? Check one. m Disputed
a Debtor1 only
a Debtor 2 only Type of NONPR|OR|TY unsecured claim:

a Debtor1 and Debtor 2 only

cl Student loans
5 At least one of the debtors and another

m Obligatlons arising out of a separation agreement cr divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plansl and other similar debts

ls the claim subject to offset? w when Spec;fy credit card

m No

a Yes

m Check if this claim is for a community debt

 

 

 

 

Official l-'orm 106EIF Schedule Ele Creditors Who Have Unsecured Claims page\_oof l q

Debtor1 John Thurman Payne

 

F'Ist Name Midl!e Name Last Name

Case number tir:cicwn)

‘{our NONPR!OR|TY Unsecured Claims - continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

_ At'ter listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. g _ Total claim
41 5
Synchrony Bank Last 4 digits of account number _7__ 1 l l $ 4’195_00
Norl.priority Creditors Name
wh - ? 02I06/2016
Attn: Bankruptcy Dept, PO Box 965060 °" “'“ "‘° debt "‘°“""`d --~_
be tra t
Pg:|arndo 8 e FL 32896 As of the date you fi|e, the claim is: Check all that apply.
City Slale ZlP Code cl Contingent
E| unliquidated
Who incurred the debt? Check one. n Disputed
q Debtor1 only
El Debtorz only Type of NONPRlOR|T¥ unsecured claim:
§ Debtor1 and Debtor2 only n Student loans
At least one °fthe debtors and a"°mer ' l;l Ol:lligations arising out of a separation agreement or divorce that
[:l Check if this claim is for a community debt m you md not report as monty C|?'ms _ _
eth to pension or pruitt-sharing plans, and other similar debts
ls the claim subject to offset? Other, Specify Credit Cal‘d
E' Nc
n Yes
fl ' ' 8 3 7 6
Synchrony Bank Last 4 digits of account number _ ___ _ __ $”M
Nonprl'ority Creditors Name
wh the debt ' d? 06/01/201 5
Attn: Bankruptcy Dept, PO Box 965060 en was 'nc“"e
N be sua t
Br:|arndo a FL 32896 As of the date you file. the claim is: Check all that apply.
any State zll=' Code |;l Contingent
El unliquidated
Who incurred the debt? Check one. n Disputed
q Debtor1 only
l;l Debtorz only Type of NONPR|OR|T\’ unsecured claim:
m Debtor 1 and Debtor2 only n Studem loans
a At least one of the debt°m and another n Obligations arising out of a separation agreement or divorce that
El check if this claim is for a community debt "°“ d'd "°‘ rei’°“ as p"°"ty °'i"'"§ _ _
n Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? q Other_ specify Credit Cal'd
g No
Cl yes
M' 411 _ _ 5 6 0 3 $ 2,718.00
Synchrony Bank Last4 digits of account number _ _____ ___ __
Norlp:iority Creditor's Name
Wh n was the debt 'nc d? 06101/2017
Attn: Bankruptcy Dept, Po Box 965060 "’ ' “"° _--
Number street . . .
Or|ando FL 32896 As of the date you fl|e, the claim ls: Check all that apply.
city state ziP code El contingent
El unliquidated
Who incurred the debt? Check one. m Dispmed
m Debtor 1 only
H ocbtct 2 cnly Type cr iioNPRloerY unsecured claim:
n Debtor1 and Debtor 2 only n Studenl loans
L_'l At least °"'E’ °f the debtors and another El Obligations arising out of a separation agreement or divorce that
l;l Check if this claim is for a community debt you md not report as monty dé!ms _
cl Debts to pension or pruitt-shaan plans, and other similar debts
ls the claim subject to offset? gowen Spe¢iry Credit Card
g Nc
El Yes

 

 

Official Fonn 106E)'F

Schedule EIF: Creditors Who Have Unsecured Claims

 

Page g OfL-'

Debtor1 John Thurman Payne

 

First Name Middie Name Last Name

Case number rifle-nmi

Your NONPRlClRlTY Unsecured Claims - Gontinuation Pago

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

After listing any entries on_this page, number them beginning with 4.4, followed by 4._5. and so forth. Tota| claim
‘ttt - - 9 3 1 9 ga
Synchmny Bank Last4 digits of account number ____ _ _ _ $ 11,032_
Nonpriority Creditors Name
- 01IO‘I /201 6
Attn: Bankruptcy Dept, PO Box 965060 when wasthe debtmcurred? _”'"_'
Number Street . . .
Orlando FL 32896 As of the date you fl|e, the claim is: Check all thatapply.
City Slate ZlP Code n Contingent
E| unliquidated
Who incurred the debt? Check one. n Disputed
a Debtor1 only
a Debtor 2 only Type of NONPRIOR|TY unsecured claim:
§ Debtor1 and Debtorz only n Studem loans
At least one °t the debtors and another n Ob|igations arising out of a separation agreement or divorce that
n Check if this claim is for a community debt you dm not report as twenty cr_a'ms
Cl Debts to pension or prol'lt-shanng plans, and other similar debts
is the claim subject to offset? g Other_ specify Credit Cai'd
g No
m Yes
423
Synchrony Bank Last4 digits of account number 1 g _§__ ___8_ 5 2,656.00
Nonpliolity Creditol‘s Name
wh th d by d? 04)'01!2016
Attn: Bankruptcy Dept, PO Box 965060 """ “'“S ° "` '“°""e __-
Number Street . . .
Or|ando FL 32896 As of the date you fl|e, the claim ls: Check all that apply.
City State ZlP CDdB a Contingent
Cl unliquidated
Who incurred the debt? Check one. m Disputed
l;l Debtor1 only
U oebtarz only Type of NoNPRloRlTY unsecured claim:
g Debtor1 and Debtor zonly a Student]uans
At least one °r the debtors and another a Ob|igations arising out ofa separation agreement or divorce that
l;l Check if this claim is for a community debt n you md not report as pman cré'ms _ _
Debts to pension or prolit-shanng plans, and other similar debts
is the claim subject to offset? m Other. Speciry Credit Card
m No
n ¥es
_rqrt° l.a t4d' 'ts r t b 0 4 6 1 t_ts’a€¢`ra
Upstart s lgl 0 accoun num er _ _ __ _
Nonpziority Creditors Name
p0 Box 1 503 When was the debt incurred? 06109/2015
Number Street . . .
San Car]os CA 94070 As of the date you flie, the claim is: Check all that apply.
City state zlP code l;l Contingent
Cl unliquidated
Who incurred the debt? Check one. n Disputed
m Debtor1 only
l;l Debtorz only Type of NONPR|OR|TY unsecured claim:
l;l Debtor1 and Debtorzonly n Student loans
n At reast °"e °rtr'& debtors and a“°trter L_.l Obligations arising out of a separation agreement or divorce that
El Check if this claim is for a community debt you md nor report as monty drilling
n Debts to pension or protil-shanng plansl and other similar debts
ls the claim subject to offset? m omer_ specify personal loan
mr No
n Yes

 

 

 

Official Fonn 106E!F

Schedule EIF: Creditors Who Have Unsecured Clalms

page t_Zof_t_r]

Debtor 1

John Thurman

Payne

 

F`rsi Name Midde Name Last Name

Case number {irii.-iawni

m Your NONPR|OR|TY Unsecured Claims _ Continuation Page

 

4.5[

 

 

Wel|s Fargo

 

Nonpriorily Creditors Name

Dil|al'ds Card Sei'vices, PO Box 5132

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth._

Last4 digits of account number __l__ __4:-_ _6_ __2_
OSIO‘UZOTB

When was the debt incurred?

 

‘ Total c`lai

$ 3,967.00

m

 

 

 

 

 

 

 

Ofncial Fonn 106Ei'F

 

 

 

Who incurred the debt? Check one.

n Debtor 1 only

m Debtor 2 only

n Debtor1 and Debtor 2 only

n At least one ofthe debtors and another

El Check if this claim is for a community debt

ls the claim subject to offset?

l;l No
l;l ‘(es

El unliquidated
El Disputed

Type of NONPR|OR|TY unsecured claim:

cl Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

l;l Debts to pension or profit-sharing plans, and other similar debL¢i
El other. speeiiv

 

Schedule EiF: Creditors Who Have Unsecured Claims

Number Streei As cf the date ou file the claim is' Check ll th t l
sioux Felle SD 57117 ’ ' ' a a app”'
guy state ziP code El Contingent
Cl unliquidated
Who incurred the debt? Check one. g Disputed
q Debtor1 only
El oebtdrz only Type of NoNPRloRl'rY unsecured claim:
§ Debtor 1 and Debtor2 only n Studem loans
At least one of the debt°m and another m Obligations arising out of a separation agreement or divorce that
ill cheek ii title claim le for a community debt y°“ d'd "°t re'_°°“ as ""°"ty °‘F'ms _ _
m Deth to pension or proht-shanng plans, and other similar debts
ls the claim subject to offset? Other_ Specify Credit Cal'd
g No
m Yes
J Last 4 digits of account number _ ____ _ _ $
Nonpn'oi"tty Creditci"s Name
When was the debt incurred?
N be site t
um r e As of the date you fi|e, the claim is: Check all that apply.
City state ziP code [:l contingent
|Zl unliquidated
Who incurred the debt? Check one. n Disputed
cl Debtor1 only
|;l Debtor 2 only Type of NONPR|OR|T¥ unsecured claim:
g Debtor1 and DebtorZon|y n Studem|oans
m least °"E °f me debtors and another n Obligations arising out of a separation agreement or divorce that
l;l Check if this claim is for a community debt you d'd not report as monty cl?'ms . .
a Debts lo pension or profit-sharing plans. and other similar debts
ls the claim subject to offset? El Other. Specifv
El No
a Yes
J ,, s
Last 4 digits of account number _ __ _ __
Nonpriority Creditor‘s Name
When was the debt incurred?
N be street . . _
um r As of the date you file, the claim is: Check all thatapply.
guy state ZlP code L:l Contingent

 

Debtor 1 Joh n

Thurman
Filsl Name Middle Name Last Name

Payne Case number tricmwrri

' List Others to Bo Notified About a Dehf That Yoi.l Already Listed

 

l
5. Use this page only ii you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For

example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Sirnilarly`, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. |f you do not have additional persons to be notified for any debts in Parts 1 or 2, do not till out or submit this page,

Advanced Ca|| CenterTechnologies, LLC

 

Name

 

 

 

On which entry in Part 1 or Fart 2 did you list the original creditor?

 

 

 

 

 

PO Box 9091 Line §§ cf (cnecir one): El Part i: creditors with Priority unsecured claims

Number street itt Part 2: creditors with Nonpriority unsecured claims

Gray TN 37815 Last4 digits of account number_§__ _3_ _7 _6

City State ZlP Code

A||ied interstate LLC on which entry in Part 1 or Part 2 did you list the original creditorz

Name

PO Box 361445 Line 4.25 of (check cne): El Part 1: creditors with Priority unsecured claims

Number Street g Part 2: Creditors with Nonpriority Unsecured
C|aims

Columbus OH 43236 Last4digiis of account number_7 _2 __§ _2

City Stata ZlP Code

 

Banco Popu|ar North America

 

 

 

 

On which entry in Part 1 or Part 2 did you list the original creditor?

 

 

 

 

 

Name
11 West 51St Street Line 4.18 of (checlr onel: Cl Part 1; creditors with Priority unsecured claims
Number Street q Part 2: Creditors with Nonpriority Unsecured
Claims
NEW YOYK NY 10019 Last 4 digits of account number __g_ __'{'_ _O _2
City Stale ZlP Code
C|ient Services, lnc. on which entry in Part 1 or Part2 did you list the original creditor?
Name
3451 Han-y 3 Truman Blvd Line 4\"¢> of (Check one): Cl Part 1: Creditors with Priority Unsecured Claims
Number Sreei q Part 2: creditors with Nonpriority unsecured
C|aims
_Saint Charies MO 63301 Last 4 digits of account number_6_ _5 _9 _§
City Slate ZlP Code

 

CredltFirst National Association

 

 

 

 

On which entry iri Part1 or Part 2 did you list the original creditor?

 

 

 

 

 

Name

BK_16 ; Credit Operations Line 4.13 of (Check one): Cl Part 1: Creditors with Priority Unsecured Claims

Number street E' Part 2: creditors with Nonpriority unsecured

PO BOX 81410 C|aims

CieVeland OH 44181 Last 4 digits of account number,__§_ _2 _2__ __5

city state ziP code

Degrasse Law Firm P.C. On which entry in Part 1 or Part2 did you list the original creditor?

Name

1300 Bering Suite 1000 Line 4.1 or (cireclr one): El Part i: creditors with Priority unsecured claims

Number Street g Part 2: Creditors with Nonpriority Unsecured
Claims

HouStOn TX 77957 Last4 digits or account number_§ _0_ _9_ _3_

city stats ziP code

 

Encore Receiveab|e Nianagement, lnc.

 

Name

 

 

 

PO Box 3330

Number Street

Olathe KS 66063
City State ZlP Code

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 424 cf (Check one): Ei l=ort 1; creditors with Priority unsecured claims

mr Part 2: Creditors with Nonpriority Unsecured
Claims

Last4 digits of account number£ _7_ _8 _2

 

Ofticia| Fonn iuoE!F

Schedule El'F: Creditors Who Have Unsecured C|aims

 

page ]_Lfof!_rl

Debtor1 John Thurman

First Name |ll.lddti Name Last Name

Payne Case number iirtoowni

must Others to Be NotiHed About a Debl: That You Already Listed

 

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
example, if a collection agency is trying to collect from you fora debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. if you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page,

FMA Alliance, Lid.

 

 

 

 

0n which entry in Part 1 or Part 2 did you list the original creditor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
p0 Box 2409 Line 4`30 of (cireck one): El Part 1: creditors with Priority unsecured Clairns
Number Street d Part 2: Creditors with Nonpriority Unsecured C|aims
l_a id d' 'ts r 0 4 6 1
Houston TX 77252 s igl o account number_ _ ___ __
_ City Siate ZlP Code
Gel’lpacf SerViCeS, LLC On which entry in Part 1 or Part 2 did you list the original creditor?
5 Name
p0 Box 1969 Line 4.23 of (Check one): Cl Part 1: Creditors with Priority Unsecured Clalms
l Number S"e°i q Part 2: Creditors with Nonpriority Unsecured
Claims
Southgate M| 48195 Last4 digits of account number___B_ __§_ _i _2
§ city stale ziP code
internal Revenue Service on which entry in Part 1 or Part 2 did you list the original creditor?
Name
l Centra;ized lnsolvency operation Line 4.17 or (checir one): El Part 1: creditors with Priority unsecured claims
Number S"°°i q Part 2: Creditors with Nonpriority Unsecured
P. O. Box 7346 Claims
Philadelphia PA 19101 Last 4 digits of account numl:ler__2 _0 _l __3
city state ziP code
JH POl`lffOllO Debt qu.lltieS LLC On which entry irl Part 1 or Part 2 did you list the original creditor?
Name
71 Stevenson St' Suite 300 Line 4.18 of (Check one): |;l Part 1: Creditors with Priority Unsecured Claims
Number Street U' Part 2; creditors with Nonpriority unsecured
C|aims
$an Francisco CA 94105 Last 4 digits of account number_2 _6 _O_ _1
city slate zlP code
ill|idland Funding LLC on which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 2001 Line 423 of (checir one): El Part 1: creditors with Priority unsecured claims
Number Street B' Part 2: creditors with Nonpriority unsecured
Claims
Warren M[ 48090 Last 4 digits ot account number _§ _6 _i _2
city state ziP code
N|idland Funding LLC on which entry in Part 1 or Part 2 did you list the original creditor?
Name
p0 Box 2001 Line 428 of (Check one): Cl Part 1: Creditors with Priority Unsecured C|aims
Number 5“°°* q Part 2: Creditors with Nonpriority Unsecured
Claims
Warren M| 48090 Last 4 digits of account number _9 __§_ __1 _9
: city state zlsJ code
yationwide Credit |"C- on which entry in Part 1 or Part 2 did you list the original creditor?
BmB
PO Box 14581 Line 42 of (Ciieck one): El Part 1: Creditors with Priority Unsecured Claims
Number Street . . . .
m Part 2: Creditors with Nonpnorlty Unsecured
C|aims
Des Moines lA o oh
city state g gp Code Last 4 digits of account number __0_ _1 _1 §

 

Oflicial Fonn 106EIF

i§

Schedule El'F: Creditors Who Have Unsecured Claims page_ of_

 

Debtor1 John Thurman

Firsl Name Middle Name Last Name

Payn e Case number (il'l¢nown)

m List Others to Bo Notifiod Ahout a Debt `l'hat ¥ou Already Lis'ted

 

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
examp|e, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similar|y, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. lf you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 

 

 

 

Nccl

Name

§ 14 Orchard Road, Suite 100

Number street
Lake Forest CA 92630
City Stafe ZfP Code

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.4 cf (check cne): Et Part 1: creditors with Priority unsecured Claims
itt Part 2: creditors with Nonpriority unsecured ctaims

Last4 digits of account numberi i __(_]_ __§_

 

SlivilVl Associates, lnc.

 

 

 

 

On which entry in Part 1 or Part 2 did you list the original creditor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

y Name
p0 Box7525 Line 4.18 or (check one); El Part 1: creditors with Priority unsecured claims
N"'“b°" S"'*~`e‘ g Part 2: Creditors with Nonpriority Unsecured
Clairns
Newark DE 19714 Last 4 digits of account number _0_ 2 _5 _§
city stale zil= code
l WebBan[-< On which entry in Part1 or Part 2 did you list the original creditor?
5 Name
p0 Box 923743 Line 4.18 of (Check one): El Part 1: Creditors with Priority Unsecured Claims
Number Street U Part 2: creditors with Nonpriority unsecured
C|aims
Peachtree Comer$ GA 30010 Last 4 digits of account number_2 _6 _Q _1
city state zil= code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): Cl Part 1: Creditors with Priority Unsecured Claims
Number Street El Part 2: Creditors with Nonpriority unsecured
Claims
Last 4 digits of account number_ _ ___ ____
city state ziP code
On which entry in Part1 or Part 2 did you list the original creditor?
Name
Line of (Check orie): Cl Part 1: Creditors with Priority Unsecured C|aims
Number Smi Cl Part 2: Creditors with Nonpriority Unsecured
Claims
Last4 digits of account number_ _ _ __
city state ziP code
On which entry in Part1 or Part 2 did you list the original creditor?
Name
Line of (Check one): Cl Part 1: Creditors with Priority Unsecured Claims
Number Street |:l Part 2: Creditors with Nonpriority Unsecured
Ciaims
Last4 digits of account number_ __ _ _
City State ZlP Code
N On which entry in Part 1 or Part 2 did you list the original creditor?
ams
Line of (Check one): Cl Part 1: Creditors with Priority Unsecured Claims
be s
Num f mt L:l Part 2: Creditors with Nonpriority Unsecured
C|airns
City mata ZlP code Last4 digits of account number __ _ ____ _

 

 

Ofiicia| Form 106E!F Schedule EIF: Creditors Who Have Unsecured Clalms page _ of____

Debtor1 John Thurman Payne
Filsl Name Midr.lie Name Last Name

Add the Amounts for Each Type of Unsecured Glalm

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes oniy. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

Total claims
from Part1

Total claims
from Part 2

 

 

Ga.

6c

Bd.

6c.

6h.

6i.

Dornestic support obligations

. Taxes and certain other debts you owe the

government

Claims for death or personal injury while you were
lntoxicated

Other. Add all other priority unsecured claims.
Write that amount here.

Total. Add lines ca through 6d.

. Student loans

. Ob|igations arising out of a separation agreement

or divorce that you did not report as priority
claims

Debts to pension or profit-sharing plans, and other
similar debts

Other. Add all other nonpriority unsecured claims.
Write that amount here.

611 Total. Add lines 6f through 6i.

Sa.

6b.

6c.

6d.

6€.

6i.

69.

Gh.

6i.

6i.

Case number (irknown)

 

 

 

 

 

To\al claim
s 0.00
3 0.00
$ 0.00
+$ 0.00
$ 0_00
Total claim
$ 40,163.00
$ 0.00
$ 0.00
+ $ 261,995.00
$ 302,163.00

 

 

 

 

 

Official Form 106E/F

Schedule E!F: Creditors Who Have Unsecured Claims

page EOfE

Fill irl this information to identify your Case:

Debw, John Thurman
Ft-st Name M$ddle Name

Debtor 2 Amber Ca ro|

 

 

(Spouse lf i'llil'lg] First Name Middle Name
United States Bankruptcy Court for the; Wesiem DiSin`Ct Of Texas

Case number . . .
rirtnown) El Check if this ls an

amended tiling

 

 

 

Official Form 1066
Schedule G: Executory Contracts and Unexpired Leases 12115

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
lnformation. lf more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

 

 

1. Do you have any executory contracts or unexpired leases?
q No. Check this box and tile this form with the court with your other schedules You have nothing else to report on this fonn.
n Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Prcperty (Official Form 106A!B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for

example, rent, vehicle iease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases

Person or company with whom you have the contract or lease State what the contract or lease is for

 

Name

 

Number Street

 

City Sl’ate ZlFl Code

 

 

Name

 

Number Street

 

City Slate ZlP Code

 

 

Nal'l'i€

 

Number Street

 

City State ZlP Code

 

 

 

Name

 

Number Street

 

City State ZlP Code

 

2.5

 

 

Name

 

Number Street

 

 

City State ZlP Code

Otlicia| Fonn 106G Schedule G: Executory Contracts and Unexpired Leases page1 of___

Debtor 1 John

Thurman Payne

 

Flr&l Name

Last Name

- Additional Page if \'ou Have More Contracl:s or Leases

Person o`r company with whom you: have the contract or lease

 

Name

 

Number

Street

 

City

State

ZlP Code

Case number (ifknswm

What the contract or lease ls for

 

 

Name

 

Number

Street

 

City

State

ZlP Code

 

 

Name

 

Number

Street

 

city

State

ZlP Code

 

 

Name

 

Number

Street

 

city

Stale

ZiP Code

 

 

Name

 

Number

Street

 

City

State

ZlP Code

 

 

Name

 

Number

Street

 

f City

State

Z[F' Code

 

 

Name

 

N|Ji'l'|b&l`

Street

 

City

State

ZlP Code

 

 

Name

 

Number

Street

 

 

City

Oiticiai Forrn ‘lOBG

State

ZlP Code

Schedule G: Executory Contracts and Unexpired Leases

page _ of

Fill in this information to identify your case:

Debtor1 John Thurman Payne

Ftrst Name Midtie Name Last Name

oesterz Amber Caro| Payne
(Spouse. if Elil'lg) Ftrst Name Midde Name Last Name

united states Bankruptcy court for the: Wesiem District of Texas

 

Case number
ill knowrt)

 

l:l Check if this is an
amended fiiing

 

Official Form 106H
Schedule H: Your Codebtors tzrts

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. |f two married people
are filing together, both are equally responsible for supplying correct information. if more space ls needed, copy the Additional Page, fill lt out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 

 

1. Do you have any codehtors? (if you are filing ajoint case, do not list either spouse as a codebtor.)

|:\ No
m Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, Caiifomia, |daho, Louisiana, Nevada, New Mexico, Puerto Rico. Texas, Washington, and \Msconsirt.)

El No. soto line 3.
Yes. Did your spouse, fenner spouse, or legal equivalent live with you at the time?
Cl No

w Yes. ln which community state or territory did you live?TeXaS . Fill in the name and current address of that person.

John or Amber Payne
Name of your spouse, fenner spouse, or legal equivalent

 

 

1708 Pageda|e Cove

Number Street

Cedar Park TX 78613
City Siate ZlP Code

3. ln Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Fonn 1060), Schedule E/F (Official Fonn 106E!F), or Schedule G (Ofticiai Form 1066). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Column 1: ¥our codebtor Column 2: The creditor to whom you owe the debt
_ _ C_heck ali schedules that app|y:
3.1 -
Brittany Payne El schedule D, line -
Name '_‘“_g`
1708 Pageda|e Cove E/schedttie Eii=, line '~\' \
Number street El seneduie G, iine
Cedar Park TX 78613
City Slata ZEP Code
3.2
El Schedule D, line
Name _"'_°
El Schedule EIF, line
Number street - El Schedule G, fine
city state ziP code
3.3
Cl Schedule D, line
Name __
Cl Schedule EIF, line
Number street l:l Schedule G, line
i City Sfa!e ZlP Code
i

 

 

 

Official Form 106H Schedule H: Your Codebtors page 1 ofm

Debtor1 John

Thurman

Payne

 

Flrst Name

Middle Name

Last Name

- Additional Page to List More Codehtors

Case number rifle-tmi

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Column 1': Your codebtor z Column 2:`The creditor to whom you owe the debt
:| Check all schedules that apply:
3._
ill schedule o, line______
Name
Ei Schedule EIF, line
Number met ' El schedule G, line
city stale ziP code
=*~_-l
Cl Schedule Dl line
Name
ill Schedule EIl-', line
Number met El schedule G, line
_ city stale ziP code
:-i
Cl Schedule D, line
Name ““““““~“
El schedule Eir=, line __
Number Street i:l Schedule G, line
city stale ziP cc<le
i;l
a Schedule D, line
Name
Cl schedule l.=JF, line
Number Smk Cl Schedule G. line
City Slale ZlP Code
3;|
El schedule D, line
Name
Cl Schedule El'F, line
Number street i:| Schedule G, line _
city slate ziP code
d
El schedule D, line
Name
El Schedule EfF, line __
Number Street Cl Schedule G, line
city stale ziP code
§
El Schedule D, line
Name
El Schedule EIF, line
Number Street El schedule G, line
city stale ziP code
l:l Schedule D. line
Name ___
l:l Schedule EIF, line
Number Street El schedule G, line
city stale ziP cede

 

Official Form 106H

Schedule H: ¥our Codebtors

page _ Df __

 

Fill in this information to identify your case:

oebtcr 1 John Thurman Payne

F`ll'st Name Midt:lle Name Last Name

center 2 Amber Carol ' Payne

 

(Spouse, iitiling) Flrst Name l.llddle Name Last Name

united states Bankruptcy counter the: Western Distrlct of Texas

Case number Check if this iSZ
[|lr known)
l:l An amended tiling

n A supplement showing postpetition chapter 13
income as of the following date:

Official FOl`m 1061 mj"m'“*\(_
Schedule l: Your lncome one

Be as complete and accurate as possible. lf two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct Infon'nation. lf you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
lf you are separated and your spouse is not filing with you, do not include information about your spouse. lf more space is needed, attach a
separate sheet to this foml. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Employment

 

 

 

 

 

 

 

 

 

 

 

 

 

1. Fill in your emptoyment ` " ' ' '
information. Debtor 1 Debtor 2 or non-filing spouse
lf you have more than one job,
attach a separate page with
ioformoiion about adoiiionai Employment status m Employed d Employed
employers. cl Not employed El Not employed
include part-time, seasonal, or
self-em lo ed work. .
p y Occupation Manager Sl.letltthe Teachel'
Occupation may include student
or homemaker, if it applies.
Employers name Rosado Enterprises Leander lSD
EmPl°yBr'S address 1821 Westinghouse Road 204 W. South Street
Number Street Number Street
Georgetown TX 78626 Leander TX 78646
City Slate ZlP Code City State ziP Code
How long employed there? 1212017 1212017

m Give Details About Monthly lncome

 

Estimate monthly income as of the date you file this form. if you have nothing to report for any line, write $O in the space. include your non-filing
spouse unless you are separated

|f you or your non-liling spouse have more than one employer, combine the information for all employers for that person on the lines
below. lt you need more space. attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse

 

2. List monthly gross wages, salary, and commissions (before all payroll

 

deductions). lf not paid monthly, calculate what the monthly wage would be. 2. $ 21392_00 $ 549_00
3. Estimate and list monthly overtime pay. 3. + $ O-OO + 5 0-00
4. Caiculate gross income. Add line 2 + line 3. 4. $ 2.392.00 $ 549.00

 

 

 

 

 

 

Otlicial Form 106| Schedule l: Your income page 1

 

Debtor 1 John Thurman Payne Case number nimmer

 

 

 

 

 

 

 

 

 

 

 

 

 

First Name Midde Name Last Name
For Debtor 1 For Debtor 2 or n j
non-filing spouse
Copy line 4 here -) 4. $ 2.392-00 $ 549-00
5. List ali payroll deductions:
5a Tax, lllledicare, and Social Security deductions 5a. s 222_00 $
5b. llllandatory contributions for retirement plans 5b. $ $ 42.00
50. Voluntary contributions for retirement plans 5c. $ $
5d. Required repayments of retirement fund loans 5d. $ $
5a. insurance 5e. $ $
5f. Domestic support obligations 5f. $ $
59. Union dues 59. $ $
5h. Other deductions Specify: 5h. + $ + 5
6. Add the payroll deductions. Add lines 53 + 5b + 5c + 5d + 5a +5f + 59 + 5h. 6. $ 222.00 $ 42.00
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 2.170-00 $ 507-00
a. List all other income regularly received:
Ba. Nel: income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total $ $
monthly net income. Ba.
8b. interest and dividends Bb. $ $
8c. Family support payments that youl a non-filing spouse, or a dependent
regularly receive
lnclude aiimony, spousal support. child support, mainlenance, divorce $ $
settlement and property settlement BC. __
Bd. Unemployment compensation Sd. $ $
8e. Social Security 8e. $ $
Bf. Other government assistance that you regularly receive
include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (beneiits under the Supplemental
Nutn'tion Assistance Program) or housing subsidies
Speciiy; Relatlves: parents er. $ 499.00 $
89. Pension or retirement income 89. s $
Bh. Other monthly income. Specily: 8h. + $ + $
9. Add all other income Add lines aa + ab + ec + ad + se + cr +sg + Bh. 9. 5 499.00 s 0.00
1U.calculate monthly ihCOmB. Add line 7 + ii|"l€ 9. 2 699 00 507 00 _ 3 176 00
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. $_; + $ ` _ $ ‘ `

 

 

 

 

11. State ali other regular contributions to the expenses that you list irl Schedule J.

include contributions from an unmarried partner, members of your household, your dependents your roommates, and other
friends or relatives

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

 

Si,eciiy: Re|atives: parents 11_ + $ 1,521.00
i12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. 6 0 `
i Write that amount on the Stlmmary of YourAssets and Liabr'll'tr`es and Certain Statr'str'cai information if it applies 12. $____i'__§:'O_ o
5 . Combined
i

monthly income
13. Do you expect an increase or decrease within the year after you file this fon'n?

g No.
El ¥es. Explain:

 

 

 

 

 

 

Ofiicial Form 106| Schedule i: Your income page 2

Fill in this information to identify your case:

 

 

g bi 1 John Thurman Payne _ _ _ _

e or FlrstName Nlddie blame LastName Check lf thlS ls-
oebtor 2 Amber Carol Payne .
(SpDuSe, ilflling) FlrstName Middle Name LaslName n An amended filan

 

l;l A supplement showing postpetition chapter 13

United estes Bankn.iptcy Courr forma Wesiem Distnct of Texas expenses as Of the following data

Case number
(if known)

 

MM/DDJ'YYYY

 

 

 

thcial Form 106J
Schedule J: Your Expenses 1215

Be as complete and accurate as possibie. |f two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

m Describe Your Househoid

'1. is this a joint case?

 

l;l No. Go to line 2.
g ¥es. Does Debtor 2 live in a separate household?

@No

n Yes. Debtor 2 must tile Official Fonn 1 06J-2, Expenses for Separafe Househoid ofDebtor 2.

 

 

 

 

 

 

 

 

 

2. Do you have dependents? n No _ ,
Dependent’s relationship to Dependent’s i Does dependent live
Do net list Debtor 1 and E/ Yesl Fiii out this information for Debtor 1 or Debtor 2 age with you?
Debtor 2. each dependent...................__.._. l w
Do not state the dependents’ Daughfei' 20 n No
names. ‘ Yes
Dauclhter 15 ' cl N°
. Yes
Dauuhter 15 ' a N°
. g Yes
son 14 g 9 N°
j Yes
son 10 m N°
‘ Yes
3. Do your expenses include g NO

expenses of people other than n
____yourself and your dependents? Yes

Fart 2: Estimate Your Ongoing Montl\ly Expenses

j Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy ls filed. li this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

include expenses paid for with non-cash government assistance if you know the value of

 

' such assistance and have included it on Schedule i: Your income (Ofticiai Form 106|.} _ Y°'-ll’ expenses

4. The rental or horne ownership expenses for your residence. include first mortgage payments and $ 21648_00
any rent for the ground or lot. 4. _
if not included in line 4:
4a. Real estate taxes 4a $
4b. Property, homeowners or renter's insurance 4b. $
4c. Home maintenance repair. and upkeep expenses 4c $
4d. Homeowner’s association or condominium dues 4d. $ 28-00

Of|icia| Fonn 106J Schedule J: ¥our Expenses page 1

Debtor1 John Thurman Payne

16.

'17.

18.

19.

20.

 

Fira't Name Midd|e Name Last Name

. Additional mortgage payments for your residence, such as home equity loans

. Ufilifies:

sa. Electricity, heat, natural gas

sb. Water, sewer, garbage collection

se Te|ephone, cell phone, intemet. satellite, and cable services
scl. Other. Specify:

 

. Food and housekeeping supplies

. Childcare and children’s education costs

. Clothing, iaundry, and dry cteaning

Personal care products and services
Medical and dental expenses

Transportation. include gas, maintenance, bus or train fare.
Do not include car payments.

Entortainment, ciubs, recreation, newspapers, magazines, and books

Charitable contributions and religious donations

insurance. ,
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a Life insurance
15b. Health insurance
15c. Vehicie insurance

15d. Other insurance. Specify:

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

 

installment or lease payments:
17a Car payments for Vehicie 1
171). Car payments for Vehicle 2
17c. Other. Specify:
17d. Other. Specify:

Case number (irr¢.-»m)

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule i, ‘/ouri'ncome (Official Form 106!).

Other payments you make to support others who do not live with you.
Specify:

Other real property expenses not included in lines 4 or 5 of this form or on Scheduie i: Your income

20a. Mortgages on other property
20b. Reai estate taxes
zoc. Property, homeowner's, or renters insurance

20d. Maintenance, repair, and upkeep expenses

zoe. Homeownefs association or condominium dues

Official Fonn 106J Schedule J: ¥our Expenses

206.

Sb.

60.

‘lU.

11.

12.
13.

14.

15a.
15b.
15¢.

15d.

16.

17a.
17b.
17c.

17d.

18.

19.

20a
2011
20¢:.

20d.

§e¢)eneneaee

$

€9('6'59€96969$9969

69

€B€H€B€H

(H'EB€§M

` Yourexpenses '

331 .00

350.00
150.00
200.00

550.00

200.00

240.00

page 2

seem John Thurman Payne case nimmo-mn
Flr:t Name M|dde Name Last Name

 

:21. Other.Specify: 21. +$

 

22 Calcuiate your monthly expenses.

223l Add lines 4 through 21. 22a $ 4,697.00
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Fonn 106J-2 22b. 3
220, Add line 22a and 22b. The result is your monthly expenses 220. $ 4!697_00

 

 

 

'23. Calcuiate your monthly net income.

 

4 .
23a Copy line 12 (your combined monthly income) from Schedule i. 23a. $__M
23b. Copy your monthly expenses from line 22c above. 23b. _ 3 4,697_00
23c. Subtract your monthly expenses from your monthly income. 0 00

The result is your monthly net income 23c. $-_'_--_`_

 

 

 

:24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modiiication to the terms of your mortgage?

U No.

 

m Y€S- Explain here:

 

 

 

Oflicial Fonn 106.1 Schedule J: Your Expenses page 3

Fill in this information to identify your case

John

Firsl Name

Debtor 2 Amber
(Spnuse. ittiling) Flrsi Name

Thunnan

M'ldl.l'e Name

Caro|

Midile Name

Payne

usi Name

Payne

Last Name

Debtor 1

United States Banl<ruptq,r Court for the: Wesiem Distlict Cif Texas

Case number
ilf knowni

 

 

 

Official Form 1068um

 

Summary of Your Assets and Liabilities and Certain Statist:ical lnformation

El check ifihis is an

amendedh"ng

12115

Be as complete and accurate as possible lf two marrled people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules flrst; then complete the information on this form. lt you are filing amended schedules after you tile

your original forms, you must fill out a new Summar'y and check the box at the top of this page.

Summarizo \'our Asset$

1. Schedule A/B: Propeily (Oilicial Fonn 106AIB)
1a Copy line 55, Total real estate, from ScheduleA/B...............................

 

1b. Copy line 62, Tota| personal property, from Schedule A/B............

 

1c. Copy line 63, Total of all property on Schedule A/B

Summarize Your Liabilitles

 

2. Schedule D: Creditors Who Have Clal'ms Secured by Pmperty (Ofl'lcial Fon'n 1060)

Your assets
Va|ue of what you own

 

 

$ 505,000.00
3 46,645.00
$ 551,645.00

 

Your liabilities
' Amount you owe

 

 

 

 

 

2a Copy the total you listed in Column A, Amount of claim, et the bottom of the last page of Part 1 of Schedule D ............ $ _M
3. Schedule E/F.' Creditors Who Have Unsecured Cl'aims (Ofliclal Fonn 106EIF) 0 0 0
3a Copy the total claims from Part 1 (pliority unsecured claims) from line Se of Schedule E/F $ _'-'_“-l-~"'
3b. Copy the total ciaims from Part 2 (nonpriority unsecured claims) from line 61 of Schedule E/F ....................................... + $ 302,163_00
Your local liabilities s 733»000-00
m Summarize ¥our lncome and Expenses
4. Schedule l: Your lncome (Oiiicial Form 1061) 4 697 00
Copy your combined monthly income from line 12 ot Schedule l .................... 3 4
5_ Schedule J: Your Expenses (Offioial Fon'n 106J)
Copy your monthly expenses from line 22a of Schedule J ............................... $ 4’697‘00

 

 

 

 

Official Form 106Sum Summary of ¥our Assets and Liabilities and Certain Statistical |nformation

page 1 of 2

 

 

 

Debtor1 John Thurman Payne Case number iman

 

 

First Name Midde Name Last Nlme

Answer These Questions for Adrninlstrative and Statistical Records

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

l:l No. ¥ou have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

m Yes

 

7. What kind of debt do you have?

g Your debts are primarily consumer debts Consumer debts are those “incurred by an individual primarily for a personal,
fami|y, or household purpose." 11 U.S.C. § 101(8). Fill out lines B-Qg for statistical purposes 28 U.S.C. § 159.

a Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box end submit
this form to the court with your other schedules

 

 

8. From the Statement of Your Current Monthly lncome: Copy your total current monthly income from Official
Form 122A-1 Line 11; OR. Fonn 1223 Line 11; OR, Fonn 1220-1 Line 14. 5 4,462.00

 

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

 

 

 

 

Total claim
From Part 4 on Schedule E/F, copy the following:
9a. Domestic support obligations (Copy line 6a.) $__9,'_0£
9b. Taxes and certain other debts you owe the government (Copy line Sb.) $._._..._____M
9c. Claims for death or personal injury white you were intoxicated (Copy line 6c.) $____.M
so. student loansl (copy line sr_) s_M
i
9e. Obllgations arising out of a separation agreement or divorce that you did not report as $ 0.{}[)
priority claims. (Copy line Sg.) _""_
9f. Deth to pension or profit-sharing plans. and other similar debts. (Copy line 6h.) + s U.OO
§ gg. Total. Add lines 93 through Qf. $ 40,168.00
l

 

 

Oflicia| Form 1068um Summary of Your Assets and Liat)i|ities and Certain Statistical tnfonnation page 2 of 2

Fill in this information to identify your case:

Debtor1 John Thurman
Flrst Name Midd|e Name

oeniorz Amber Carol

(Spouse, il’filing) Flrst Name Mldclla Name

Payne

Last Name

Payne

LB!\ Nll'l’l°

United States Bankruptcy Court for the: Wesiem District of Texas

Case number

 

(ll‘ known)

 

El Check if this is an

 

Official Form 10SDec

 

amended filing

Declaration About an lndividual Debtor’s Schedu|es 1an

lf two marrled people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in Hnes up to $250.000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

l

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

mNo

n Yes. Name of person

. Attach Bankruptcy Pctr'tl'on Pre,oarer's Notr'ce, Dec:l'araflbn, and
Sl'gnature (Othcial Fonn 119).

Under penalty of perjury, t declare that l have read the summary and schedules filed with this declaration and

that they are true and Cofl’&Ct.

steele

Sl'g lure of Debtoél©

Date /gO 2/2,7 (Z"-‘\' 8

MMl' DD l' YYYY

x OMW

Signature of Debtor 2

Date O‘Z{ZT ZDIB
MMl' DDl

 

Official Form 1060€0

Declaration About an lndividual Debtor's Schedules

Fill in this information to identify your case:

Debtor1 John Thurman Payne

Fits‘t Name Middle Name Last Name

Debtorz Amber CEFO| Payne

 

{Spouse. itiiling} FirslName Middle Name l.aslName
united states eankmpicy conn rorihe: Westem District of Texas

Case number
(if known)

 

 

 

Official Forrn 107

Statement of Financial Afl'airs for lndividuals Fi|ing for Bankruptcy

El check irihis is an
amended iilirig

04116

 

Be as complete and accurate as possible lf two married people are filing together, both are equally responsible for supplying correct
information. |f more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case

number (if known). Answer every question.

m Give Detlils About Your Marital Statu$ and Where You Live¢| Before

 

_ 1. What is your current marital status?

§

i

§ d Married

§ El Not married
l

2. During the last 3 years, have you lived anywhere other than where you live now?

MNo

C] Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

Debtor 1: Dates Debtor1 ' Debtor 2:
lived there

El same as Debtor1

§ Fron'i

 

Dates Debtor 2
lived there

[J Same as Debtor1

 

 

 

 

 

 

 

 

 

 

 

 

_ From
Number Street - Number Street
' TO To
§
City State ZlP Code City State ZlP Code
§ n Same as Debtor 1 a Samo as Debtor1
§ From From

Number Street Number Street

To To
City State ZlP Code City Slate ZlP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Commum'ty property
5 states and territories include Arizona, Ca|ifomia, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas. Washington. and Wisconsin_)

§ El No
§ d Yes. Make sure you till out Schedule H: Your Codebtors (Oflicial Form 106H).

4 ,_ m ,__",=`._.._`t=,,~`,`“.,,,s._..,_._wW_.,,,,_,.=..,...._,..,,.`-,`“.., ,......`...W ....…. ,`...`__,,,__`..e __..-t _.._.._s _._..`..._.-_.,.. _l...... =--~..~.h._

Explain the Sources of Your lncome

 

Official Fonn 107 Statement of Financial Affairs for individuals Fi|ing for Bankruptcy

page 1

Debtor 1

John Thurman Payne
Ftrst Name Midd|e Name l.nst Name

 

Case number (irr<ndwn)

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses including part-time activities
if you are tiling a joint case and you have income that you receive together, tist it only once under Debtor1.

Cl No
Ei Yes Fill in the details

 
 

Sources ofincome

estimates

Gross income

`Sourcos of income

  

diaz.'§

Gross income

 

 

 

` Check alt that apply. (l;>efore deductions and ` ` Check all that apply. (before deductions and
exclusions} exclusions)

- g Wages. commissions w Wages, commissionsl

From January 1 of current year until _ 4 239.00 . 875.00

the date you filed for bankruptcy: bonuses' ups $' § bonuses' dps $

Operating a business a Operating a business
_ m Wages, commissions w Wages, commissionsl

For last calendar year. bonuses' ups $ 46,550_00 bonuses_ ips $ 5,066.00
(January 1 to December 312de cl Operating a business m Operating a business
For the calendar year before that'. w Wages' °°,mmis‘°’i°"s' w :vages' °':immissi°ns'

bOl‘lUSEES, lips $ 165,19700 Ol'l'Llses, PS $ 8'71300

(Jal'lLti':le 1 fO DeCember 31,2016 g Operating a business
YYYY

 

 

5. Did you receive any other income during this year or the two previous calendar years?
include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Securlty,
unemployment, and other public benetit payments; pensions; rental income; interest dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. if you are tiling a joint case and you have income that you received together, list it only once under Debtor 1.

n Operating a business

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

n No
U yes Fill in the details

Official Form 107

EWE. .
e-’D¢§

 

..¢,.i.c:£_\_s__ .3£`_,‘..

tapes . r. " §

 

 

 

 

 

.
‘-...a salab£§§i$i

 

 

Soorces of income Gross income from Sources of income Grosc income from
Describe below. each Source cascan beidw_ uch 801-ircs
(before deductions and (before deductions and
exciusions) oxciusions)
From January 1 of current year until
the date you filed for bankruptcy:
For last calendar year: Unemp|oyment 3 12‘818'00
(January1 to December 31 3201-f l Retlrement WlD 14,485.00
YYYv
For the calendar year before that:
$

 

(Januaryi to December 31,20‘|6 )
vwv

 

 

Statement of Financial Atfairs for individuals Fi|ing for Bankruptcy

page 2

z
3

 

Debtor1 John Thurman Payne Case number(ifknewni

Finsl Name M.iddle Name Last Name

 

List Corl:ain Payments You llade Before You Filed for Bankruptcy

 

l
E

§ 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
n No. Neither Debtor1 nor Debtor 2 has primarily consumer debts. Corrsumer debts are delined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose."
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

m No. Go to line 7.

Cl ¥es. List below each creditor to whom you paid a total of $6.425* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4101/19 and every 3 years after that for cases i|ed on or atter the date of adjustment

m Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

E] No. Go to line 7.
5 d Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that

creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

 

 

'- -Dates of Totll amount paid Amount you still owe llllasthlc payment for...
payment ` _ 7 7 '
j Amp\ify CU 02/21/2018 $ 330.00 $ 43.724.00 inggage
Creditors Name n
§ C
z 6411 N Lamar Blvd ar
j Number street U credit card

g Loan repayment

 

z m Suppliers or vendors

Austin TX 78752

 

 

 

 

 

 

 

 

 

 

 

 

 

§ city state ziP code n Other
Greater Texas FCU 01/10!2018 3 1,099.00 s 40,999.00 g Mongage
Creditor’s Name w
j C
6411 N Lamar 0212112013 ar _
Number Street n cred't card
n Loan repayment
A TX 78752 a Suppliers or vendors
‘ ustin
ciiy sizes ziP code a other
Mr. cooper 12111/2017 s 5,295.24 $ 345.483.00 q Mmgage
j Creditors Name m
j Ca
§ PO BOX 619098 01/10/2018 n r _
l Number Slreet Cred't card
m Loan repayment
n TX 261 m Suppliers or vendors
Da as 75
city stare ziP code n Other

 

 

Official Fonn 107 Statement of Financial Affairs for lndividuals Filing for Bankruptcy page 3

Debtor1 John Thurman payne Case number (irrmown)
F'm Name Mr¢rdie Name Lasirvama

 

 

 

7. Within 1 year before you filed for hankruptcy, did you make a payment on a debt you owed anyone who was an insider?
insiders include your relatives; any general partners; relatives of any general pariners; partnerships of which you are a general partner;
corporations of which you are an oflicer, director, person in controi, or owner of 20% or more of their voting securities; and any managing
agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. include payments for domestic support obligations
Such as child support and alimony. §

alive §

El Yes. List ali payments to an insider. §
§

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t
l
1
<
i
z
i

 

 

 

 

 

 

 

 

 

 

 

 

bates of _ Total amount Amount you still Reason for this payment
payment paid owe
$ $
|ns'ider's Name
Number Street
§
City State ZlP Code §
$ $
insiders Name
§ Number Street §
.` l
ciiy stare ziP code §

 

 

 

a. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited §
` an insider? §
include payments on debts guaranteed or cosigned by an insider. §

i

MNo

El Ves. List all payments that benefited an insider.

 

 

 

 

 

 

§

l

Datls of ' Tota| amount Amount you still Reason for this payment §

payment ' paid °“'° include creditors name §

§ insiders Name $ $ §
Number Sireat '
city state ziP code §

 

 

 

 

insiders Name

 

Number Sueel

 

 

 

 

 

__c_iy Sia_ia ziP code

 

 

Official Form 107 Slatement of Financial Affairs for individuals Fi|ing for Bankruptcy page 4

John

Fnt Name

Thurman

Last Name

Debtor1 Payne Case number (iriaiawni

 

Midd'ie Name

mdentify Legal Actions, Repossessions, and Fere¢:losures

 

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?

§
l
§ List all such mattersl including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
i
§

 

 

 

 

 

 

 

 

 

 

 

and contract disputes
M Yes. Fiii in the details _ _ _
§ Nature of the case § Court or agency Status of the case `
‘ - - - 311§"9 to Pay for 2 County Court #2, Wi||iamson Co _
Case fite___Amp§'fy Cred§t Ur"°n' consumer loans that are court Name m Pe“d'“g
§ - lmwmme®m%ww memi
i formerly Amplify Federal Cre... 405 MLK Street
§ and totai about $35'000' Number Street a Conciuded
§ Case number W_§_z__ GeOi'QeiiOWri TX 78626
§ City state ziP code
BFUn §5 Sll§ng for me to Pay Justice of the Peace, Precinct 2 _
` Case tide Anne Brun V John $1,719 for part of a fence conn Name q P°“d‘“g
§ _ n On a eat
§ Payne that Brun replaced that was 350 Dlscove B§Vd’ #204 pp
not broken ‘ Number street ry n Concluded
case number XXX-XX-XXXX cedar Park Tx 78613
ciiy state ziP code

 

 

 

Check all that apply and fill iri the details beiow.

mr No. Go to line 11.
Ci Yes. Fill in the information below.

 

 

 

 

 

 

 

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or ievied?

 

 

 

 

 

 

 

 

 

. Describe the property § Date § Va!ue of the property
§ § . .. .
§
§ § $
. Creditors Name §
t
§ E
Number Street Explain what happened
El Property was repossessed_
§ n Property was foreclosed.
§;l Property was garnished.
city state ziP code a Property was attached, seized, or levied.
§ Describe the property Date Vaiue ofthe property
§ $
§ Creditor's Name §
§
Number Street
Explain what happened
l:l Property was repossessed.
m Property was foreclosed
City 5th ZlP Code §:l Property was garnished.

El Property was atlached, seized, or ievied.

 

Official Form 107 Statement of Financial Affairs for individuals Fi|ing for Bankruptcy page 5

 

Debtor 1 John Th u rman Payne Case number miami

 

 

Flrst Name Middla Name Last Name

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

ENo

El Yes. Fili in the details.

Describe the action the creditor took Date action Amount

 

 

 

 

 

 

 

 

 

was taken
Creditors Name

l

E

§ $
Number Street

City Stle ZlP CDde Last 4 digits of account number: XXXX-

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
' creditors, a court-appointed receiver, a custodian, or another official?

g No
m Yes

List Gertain Gi|"ts and Contrihutions

§ 13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
E No

§ n Yes. Fill in the details for each gift.

§ Gil'ts with a total value of more than $600 Describe the gifts . Datee you gave Va|ue

 

 

 

 

 

 

 

 

 

 

 

§ ` per person the gifts

$
§ Person to Whom You Geve the G'rft

$
§ Number Street

City slate zlP code

§ Person's relationship to you

Glfts with a total value of more than $600 Describe the gifts _ Dates you gave Va|ue
per Person _ _ _ ma guns

-; . $
§ Person to Whom You Gave the Glft

s
Number Street

§ City State ZlP Code

r

 

 

§ Person’s relaiionship to you

 

Official Form 107 S\atement of Financial Affairs for individuals Fiiing for Bankruptcy page 6

Debtor 1 John Tl'll.|fi'l'l‘¢'in
LaslNarne

 

F'Ist Name Midd|e Name

Payne Case number umwa

 

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

MNo

l;l Yes. Fil| in the details for each gift or contribution.

Gifte or contributions to charities
that total more than $500

Hi|| Country Bib|e Church

Describe what you contributed

 

 

 

 

 

Cherity's Name

12124 RR 620 N

Number Street

Austin TX 78750
City Siale ZlP Code

List Certain Losses

 

Donations for mission trips prior to June 15,

2017 and June15,2016.

 

 

Date you Value
contributed

06115/2017 $ 1,150.00

06§'15/2016 5

 

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other

§

List Cortain Payments or "l"ransfers

16. Within 1 year before you filed for bankru ptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
include any aliorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

disaster, or gambling?

UNo

El Yes. Fill in the details

Describe the property you lost and
how the lose occurred

Describe any insurance coverage for the loss

include the amount that insurance has paid. List pending insurance

claims on line 33 of Schedule A/B: Properiy.

 

 

 

 

 

 

 

Date of your

Va|ue of property
` lost

 

 

 

 

§ZNo

m Yes. Fill in the details

 

Person Who Was Paid

 

Number Street

 

 

City slate ziP code

 

Emaii or websila address

 

Person Who Made the Payment. if Not You

 

' Description and value of any property transferred

 

 

Date payment or Amount of payment

, transfer was

made

 

Official Form 107

Statement of Financial Affairs for individuals Fi|ing for Bankruptcy

page 7

 

Debtor ‘l

 

Official Form 107

John

Thunnan

Payne

 

FI’Sl Name Middle Name

LBSl Name

Case number (irknim-il

 

Descriptlorl and value of any property transferred

Date payment or
transferwa$ made

 

 

Person Who Was Peid

 

Number Street

 

 

city stale ziP code

 

Emai| or website address

 

Person Who Mede the Payment. if Not You

 

 

 

Amount of
payment

11. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed orl line 16.

MNO

El Yes. l=iii in the details

Description and value of any property transferred

 

Person Who Was Paid

 

Number Street

 

 

City Siate

ZlP Code

 

Date payment or Amount of payment
transferwas
made

$

$

 

 

18. Within 2 years before you filed for bankruptcy, did you se||, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or unancial affairs?
include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement

Cl No
M' Yes. Fill in the details

Brittany Payne

Description and value of property
transferred

- Descrlbe any property or payments received
_ or debts paid in exchange

' Date transfer
was made

 

 

Person Who Received Transfer

1708 Pageda|e Cove

2006 Dodge Truc|< that my
aduit daughter uses: $2,300

 

Number Street

 

Cedar Park TX

78613

 

city state

Person’s relationship to youDathter

John & Karen Payne n

ZlP Code

Paid off the loan associated with
the truc|<.

02/07/20‘18

 

 

2008 Sea Doo and 2007

 

Person Who Received Transfer

Yamaha Wave Runner (2):

 

$10,200

 

 

 

Number Street

2546 River Oaks Blvd
King|and TX 78639
City Siate ZlP Code

 

Paicl my mortgage for 3-4 months

12115/2017

 

 

Person's relationship to you Parents

Statement of Financial Affairs for individuals Fi|ing for Bankruptcy

page 8

 

 

Debtor1 John Thu rman Payne Case number (irlrnennl

Frst Name Middla Name Last Name

 

19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
§ are a beneficiary? (These are otten called asset-pmtectl'on devices.)

ENO

El Yes Fill in the details

Description and value of the property transferred Date' transfer
was made

 

l 12115/2017
§ Name of trust -----_

 

 

 

 

i

List Coltlin Financial Accoun‘ts, lnstrumanta, Sa‘l‘a D¢poslt loxas, and Storag¢ units

 

 

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, so|d, moved, or transferred?
include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension fu nds, cooperatives associations and other financial institutions

Cl No
iii Yes Fill in the details

 

 

 

 

 

 

 

 

City Sfitte ZlP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?
q No
El Yes Fill in the details

 

 

 

 

 

 

 

 

Who else had access to lt? Describe the contents Do you still .
-have _it?
a No
Name of Financial institution Name n Yes
Number Street Number SM
City State ZlP Code
City State ZlP Code

 

 

 

 

Of|lcia| Fonn 107 Statement of Financial Affairs for individuals Fiiing for Bankruptcy page 9

Last 4 digits of account number Type of account or Date account was Last balance before

: instrument ciosed,sold. movedl closing or transfer _
- _ or transferred
Many banking (‘l 8) credit union if 12
Name of Financial institution __ _ _ _ Mhecking FN~NF~E" 151 $ \\% §.,»-
accounts that had values less
Number street 3“""95
than $25 each, many at $5. |:I sidney market
Brokerage
XXXX-_ _ _ _ n Checking __________ $

Name of Financial institution

n Savlngs
Number Street a Money market

l:l erolrerage

El other

 

Debtor1 John Thurman Payne Case number tirlmdnnl

F.'l\a't Name Midde Name LlS\ Name

 

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
No
Ci Yes l=ill in the details

 

 

 

Who else has or had access to it? Describe the contents Do you still
have 'rt?
l
i l Cl No
Name of storage Faclllty name n yes
Number Street Number Street

 

 

l
|
CllyStaie ZlP Code §

city slate z§Pcode nn w

 

m ld¢ntify Property Yo\l llold or Goni:rol for Som¢on¢ Elso

 

23. Do you hold or control any property that someone else owns? include any property you borrowed from, are storing for,
or hold in trust for someone.

No
Cl Yes. Fill in the details
Where ls the property? __ _ Descrlbe the property - Va|ue

 

 

Clwnefs Name $

 

Number Street

 

Number Street

 

 

 

City Stal:e ZlP Code

 

 

 

City Shta ZlP Code

m Clvo Dotails Abollt Environmental lnl'onna\|on

 

 

 

 

)
l
l
t

For the purpose of Part 10, the following definitions apply:

§ l Envfronmentai law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
’ hazardous or toxic substances, wastes, or material into the air, land, sol|, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

l Sr'te means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize lt, including disposal sites.

§
z
f l Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
§ substance, hazardous materiai, pollutant. contaminant, or similar tenn.

t

l

§ Roport ali notices, releases, and proceedings that you know about, regardless of when they occurred.
l

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

mile

E] Yes. Fill in the details

 

 

 

 

 

 

Govemmenta| unit ` Environmentai iaw, if you know lt Date of notice
§ Name of site Govemrnental unit
Number Street Number Street
5 city state ziP code

 

 

City State ZlP Code

Official Form 107 Statement of Financial Affairs for individuals Fi|ing for Bankruptcy page 10

John

Firsl Name

Th urman

Last Name

Debtor1 Payne

 

Middla Name

25.|-iave you notified any governmental unit of any release of hazardous material?

g No
Ei yes Fill in the details
_ Govemrrlerital unit

Case number tamm

Environrnentai iaw, if you know it

Date of notice

 

 

Name of site Governmental unit

 

Number Street Number Street

 

City State le‘-" Code

 

ZlP Code

city state

l

 

§ 26. Have you been a party in any}udiciai or administrative proceeding under any environmental law? include settlements and orders. l

§ ENo

E.'..l ves Fill in the details

 

 

 

 

 

§

§ Court or agency Nature of the case status °f the
. . __________________ ______ _______ ___ °"9. §
§ case title j §
t 4 § . l
i court Name § m Pendlng §
§ " n On appeal '
Number street § n Concluded §

_ _ §

: § §
§ case number city state zlP code § §

l u._.._.s.m...s.`..._.,~.."_... ..”_,,..,_._e_ _.

m Givo Detalls Abou‘t ¥our luslness or Connoc‘tions to Any luslness

27. within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
§ A sole proprietor or self-employed irl a trade, profession, or other activity, either full-time or part-time

Cl A member of a limited liability company (LLC) or limited liability partnership (LLP)
m A partner in a partnership
n An officer, directorl or managing executive of a corporation

n An owner of at least 5% of the voting or equity securities of a corporation

n No. None of the above applies. Go to Part 12.
g Yes. Check all that apply above and fill in the details below for each business.

 

l
l
l
L____

' Employer identification number

 

 

 

 

 

 

 

 

Employer identification number

 

 

 

 

 

 

 

Descrlbe the nature of the business
John Payne
Eiuslness Name
Rlde share and food delive service
1708 Pagedale Cove ry
Number Street
Name of accountant or bookkeeper
self
Cedar Park TX 78613
____§i.!l'_. _______ sine ZlP C°d'-‘
Describe the nature of the business
Buslness Name
Number Street
Name of accountant or bookkeeper
city stale ziP Code

 

 

Official Form 107

Statement of Financial Affairs for individuals Fi|ing for Bankruptcy

 

l
l

 

Do not include Social Security number or lTlN.

Dates business existed

From 02101l20151'0 02126/2018

Do not include Social Security number or l`illll.

ElN: -

Dates business existed

From To

 

page 11

Debtor1 John Thurman Payne Case number (irlaiewni
Flrst Name Midd|e Name Last Name

 

 

 

 

Employer identification number
Do not_inc|ude Social Security number or l`l1l'_i.

Describe the nature ofthe business

 

 

 

 

 

 

 

Buslness Name

ElN:__-________.__._._..._
Number Street Name of accountant or bookkeeper Difes bl-lSI\'!BSl lillide

From __________ To
city stale ziP Code

 

 

 

 

25. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include ali financial
institutions, creditors, or other parties.

ENo

El Yes l=ill in the details below.

Date issued

 

Name um no l YYYY

 

Number Street

 

 

City State Z|F Code

l have read the answers on this Statement ofFr°nancr‘al Affairs and any attachments and l declare under penalty of perjury that the
answers are true and correctl l understand that making a false statement concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U. S. C. §§ 152, 1341, 1519, and 3571.

x MA’WL xMW

Sig§‘/ ture of Debtor" Signature of Debtor 2

pete g ‘?-[q-? l@' § Date 9 7;§ 37 (2°13

Did you attach additional pages to ¥our Statement of Financial Affairs for individuals Flling for Bankruptcy(Officiai Fonn 107)?

MNo

cl Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
q No

m Yes. Name of person . Attach the Bankruptcy Pell'tr'on Preparer’s Notl'ce,
» Declarafl°on, and Sl'gnature (Ofiicia| Form 119).

 

 

 

Official Form 107 Statement of Financial Affairs for individuals Fi|ing for Bankruptcy page 12

Fill in this information to identify your case:

 

 

 

Debtor1 John Thurman Payne
Fl|'Sf Name illde Name LBS\ Nlrl'le

nebiorz Amber Caro| Pavne

(SpOL|Se. ifhiing] Firet Name Middie Name Last Name

United States Bankruptcy Court for the: Wesiem Dislrict of Texas

Case number n Check if this iS an
("K"°“'") amended filing

 

 

Official Form 108
Statement of intention for individuals Fi|ing Under Chapter 7 ms

 

lf you are an individual filing under chapter 7, you must till out this form if:

l creditors have claims secured by your property, or

l you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.

lf two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the fonn.

Be as complete and accurate as possible. if more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

List ¥our Creditors Who Have Secured Claims

 

1. For any creditors that you listed in Part 'i of Schedule D: Creditors Who Have Claims Secured by Property tOft'icial Form 1060), fill in the
information below.

 

§ identify the creditor and the property that is collateral What do you intend to do with the property that Did you'claim the property
§ secures a debt? as exempt on Schedule C?
§ Creditors , , _
§ name: Amphfy Cred]t Umon n Surrender the property. m No §
j '““ _ _ " ”" Cl Retain the property and redeem it. d Yes §
§ gr:sp:;,‘p;lon of Rea| Property: 1708 Pageda|e COVe» a Retain the property and enter into a §
- . Cedar Park, TX 78613 Reaiirnnatr'on Agreement.
securing debt. 1

n Retain the property and [exp|ain]: §

 

 

 

 

 

 

 

§ ::r:;t-Orls Greater Texas FCU n Su"e"de"he property n NO §
§ D `M-:'"';`wm'_f"“”m`M_`MWMUW'§mWWM""“NWW"m"w" "~"M“`”"" n Refairi the properly end redeem if. M Yes
pr:;(:;§.§);lon 0 2010 Toyota Sequo§a m Retain the property and enter into a §
§ Securing debt Reaffinnatr'on Agreement. §
Cl Retain the property and [expiain]:
gregg-aris Greater Texas FCU n Su"e"de"he Pr°pert¥- n NO §
_ """"" El Retain the property and redeem it. MY@S §
Er:sp(`;:§);mn of 2010 Toyota Sequo§a M Retain the property and enter into a §
Secur;ng debg: Reaiiimration Agreemenl. §
: El Retain the property and [explain]: §
gred;t°r'$ Mr Cooper 13 Surrender the property, El No
i am : - §
: rmwv-“M:…:Nlu WNM` gmum_“ nrm“`w w w"r-“ W“M-Mw…MMM“HN~NMMML` umw n Relain the property and redeem it M Yes ;
E|:,;;nr?;|on of Rea[ Property: 1708 Pagedal€ COV€. g Retain the property and enter into a §
Securing debt Cedar Pal'k, TX 78613 Reali'innation Agreement. §

Cl Retain the property and [expiain]:

 

Official Fonn 105 Statement of intention for individuals Fi|ing Under Chapter 7 page 1

Debtor1 John Thurman Payne case number mem

 

First Name Midde Name . Last Name

List Your Unexpired personal Froperty Loasos

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

z §
§ For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Ofticial Fonn 1056}, §
§ till in the information below. Do not list real estate leases. Unexpired leases are leases that are still ln effect; the lease period has not yet §
§ ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p}(2). §
§ Describe your unexpired personal property leases Wili the lease be assumed? §
Lessor's name: El No
§ ...._.,..,._.._..,,..,....-.\...\.`..~...-,..w....l.,...,-.-"~,`....-”.~....»1~,,-4..",,.,.\,...!..-w.--.~......,_.,. .,»,,-.-"_,...- ..~,--.__......-~_,»...,.._....._.` ....__ .,a....~.r.....,». .,e_..~ ,N,._..... ..._...., m n Yes §
§ Description of leased §
§ property: §
§ §
’ Lessor’s name: Cl No 5
§ ..,.~_`.,.,._...v `,,m,..., .... _»,..,....,..»`.,`,.._N.V_~~ ...L.~.....,.__..,»..,,‘.¢,.,,_.. ..V... .. tma.._...,.“...a_.,..,,..\ \..M...A., 4_ ,4_4, -.l ~..\.,./ .d-..m..,.. n yes §
§ Description of leased §
property: §
l §
Lessor’s name: n No §
§ l-..A~v~l.-=y.~--`Lm\-`»--\,.-._l`.Ww--_-“m._~w......._w,v-e _..,,,.r.--_.._§,--=--,. . »- ,.,._, \....=..._»_._._._-_.. §
§ Description of leased n Yes
§ property: §
§ !`
:» Lessor’s name: [| No
§ .....H_N,L,l._.,.u,.v.. .~...<W,,.....M..... ..t......m._..,\.y.z,»m` ,,~,,..._._.,`,T.".~,~._,...§,..§\~,.§...r.m~,.“_….mm.…M.., W_-.t n Yes §
Description of leased
property:
Lessors name: l:| No §
: ......»~»~»- ,-=.W..».--M_.--t=_~`...,.,”“..,._tta...._.....s-».r.._..,,_.~..........mt.,,-.“_...u g Yes §
§ Description of leased
' propelty: §
Lessor’s namet g No
§ ….._.“ -..._.a.. ....m_ ..,s,¢~..,-¢...“.,.,W=,~..M...».Mss,y»,~..,»_,, .»~\_.,Wm_ m Yes §
; Descrlptcon of leased §_
§ property:
|,.essor's name: m No
§ ...N.,M§._,'“,,;H..W.,.s, .§.. l .,. ,. .. . ._ m ...…, .,_m__..m.." E] Yes §
Descrlpllon of leased §

property: §

 

m sign Bol°w

Under penalty of perjury, l declare that l have indicated my intention about any property of my estate that secures a debt and any
personal property that is subject to an unexpired lease.

x MW

Signature of Debtor 2

Da[e Da§ 21 lz“' 8

MMI DDil YYYY

 

Ochial Form 108 Statement of intention for individuals Filing Under Chapter T page 2

 

Fm m this information to identify your case: Check one box only as directed in this form and in

Form 122A-‘l Supp:

 

 

 

 

oebiori John Thurman Payne

F"mame mm Name LB“NM D 1 There is no resum tion of abuse
osbidrz Amber Caro| Payne ' p p '
lSp¢=usE. ifiline) Fiswame Midde Name uswme n 2. The calculation to determine if a presumption of

_ _ abuse applies will be made under Chapter 7

United States Bankruptcy Court for the: Wesiem DlsinCt of Texas Means Test Ca,icu}at;on (O{-[icra| Fonn 122A_.2)_
Case number El 3. The Means Test does not apply now because of
(lfkndwn} qualified military service but it could apply |ater.

 

 

Et check iithis is an amended filing

Official Form 122A--‘l

 

Chapter 7 Statement of Your Current Monthly lncome 12115

 

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for being accurate. lf more
space is needed, attach a separate sheet to this forrn. include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). |f you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement ofExemption from Presumption of
Abuse Uno'er§ 707(b)(2) (Offlcial Form 122A-1Supp) with this fon'n.

m Calculate Your Current Honthly lncome

 

1. What ls your marital and filing status? Check one only.
El Not married. Fill out Column A, lines 2-11.
m Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

El Married and your spouse is NOT filing with you. You and your spouse are:
a Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

\;l Living separately or are legally separated. Fill out Column A, lines 2-11; do not till out Column B. By checking this box, you declare
under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
spouse are living apart for reasons that do not include evading the Means Test requirements 11 U.S.C. § 707(b)(7)(B).

Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
bankruptcy case. 11 U.S.C. § 101 {1 OA). For example, ii you are filing on September 15, the S-month period would be March 1 through
August 31. lf the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
l'-'i|| in the result Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
income from that property in one column only. if you have nothing to report for any line, write $O in the space.

Column A' Column B
Debtor 1 Debtor 2 or
no_n-i`iling spouse

2. Your gross wages. salary, tips, bonuses, overtime, and commissions

(before all payroll deductions). $_Q.MO $ 549.00

3. Aiimony and maintenance payments Do not include payments from a spouse if
column s is lined in. $_ $

4. All amounts from any source which are regularly paid for household expenses
of you or your dependents, including child support. include regular contributions
from an unmarried partner, members of your household. your dependents, parents,
and roommates. lnclude regular contributions from a spouse only if Column B is not

 

 

 

 

 

filled in. Do not include payments you listed on line 3. $____- $
5. Net lncome from operating a business, profession, Debtor1 Debtor 2

or farm _ 7

Gross receipts (before all ded uctions) $ $

Ordinary and necessary operating expenses - $ - $

Net monthly income from a business. profession, or farm $ 3 ::r';’,',) $ $
6. Net income from rental and other real property Debtor1 Debtor 2

Gross receipts (before all deductions) $_ $

Ordinary and necessary operating expenses - $ - $

Net monthly income from rental or other real property $ $ :::;y_) g
7. lnterest, dividends, and royalties $

 

 

 

Official Fonn 122A-1 Chapter 7 Statement of Your Current Monthly lncome page 1

assist-1 John Thurman Payne case numbers-mmi

 

 

Firat Name Midde Name Last Name
Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse
8. Unemployment compensation 5 $

 

Do not enter the amount if you contend that the amount received was a beneiit
under the Socia| Security Act. lnstead, list it here:

For you........ ....... $
FOI' yOLll' SpOUS& ................................................................... $

 

9. Pension or retirement lncome. Do not include any amount received that was a
benth under the Social Security Act. $ $

10. lncome from all other sources not listed above. Specify the source and amount.
Do not include any benehts received under the Social Security Act or payments received
as a victim of a war crime, a crime against humanity, or intemational or domestic
terrorism. if necessary, list other sources on a separate page and put the total below.

 

 

 

Re|atives: Parents $ 1 521_00 $
$
Total amounts from separate pages, if any. + $ + $
11. Ca|cu|ate your total current monthly lncome. Add lines 2 through 10 for each + __
column. Then add the total for Column A to the total for Column B. $ 3,913.00 3 549.00 " $ 4,462.00

 

 

 

 

 

 

 

Tohl current
monthly lncome

Determine Wh¢ther the Means T¢st Applies to You

 

12. Ca|cu|ate your current monthly income for the year. Foliow these steps:

 

 

12a. Copy your total current monthly income from line 11. ................... copy line 11 here') $ 4 462.00
Multiply by 12 (the number of months in a year). x 12

12b. The result is your annual income for this part of the forrn. izb.

13. Ca|cu|ate the median family income that applies to you. Follow these steps:

 

 

 

 

 

 

 

Fill iri the state in which you |ive. Texas
Fill in the number of people in your household 7
Fiil in the median family income for your state and size of household ...... 13. $ 102.133-0(

 

 

 

 

To find a list of applicable median income amounts, go online using the link specilied in the separate
instructions for this fonn. This list may also be available at the bankruptcy clerk’s oflice.

14. How do the lines compare?

14a. i Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is rio presumption of abuse
Go to Part 3.

14b. Cl Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is detenm'ned by Fonn 122A-2.
Go to Part 3 and li|| out Forrn 122A-2.

Sign Below

By signing here, l declare under penalty of perjury that the information on this statem tand in any attachments is true and correct

X M'T‘Q\S< X O\/><\S`

Sign re of Debtor 1 ")L-'/ Signature of Debtor 2 V

Date 0-`2,! 11 {z°'{ 9 Date 0'2£'7‘ Zol"a
MMJ' D /YYYY M /DD lYYYY

if you checked line 14a, do NOT E|| out or tile Fonn 122A-2.
if you checked line 14b, fill out Form 122A-2 and file it with this form.

 

 

 

Ofiicial Fonn 122A-1 Chapter 7 Statement of Your Current Monthly income page 2

UNITED STATES BANI{RUPTCY COURT
WESTERN DISTRICT OF TEXAS

 

AUSLDIVISION
18 "-' 110 1 9 8 D
In Re: § Case No. .
§
/ P ~r~£ §
`j' ,~i lmrde ,4
AO|::KER» CA-fb.__ P#TNL § Chapter

 

LIST OF CREDITORS VERIFICATION

The above named debtor(S) hereby verifies that the attached list of creditors is true and correct to the
best of their knowledge

%;M__----_ 62 /37 /73.,3
Disti b Date

 

 

 

Joint Debtor Date

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